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   1 CHRISTOPHER GRIVAKES, State Bar No. 127994
       cg@agzlaw.com
   2 DAMION ROBINSON, State Bar No. 262573
       dr@aglzw.com
   3 AFFELD GRIVAKES LLP
       2049 Century Park East, Ste. 2460
   4 Los Angeles, CA 90067
       Telephone: (310) 979-8700
   5 Facsimile: (310) 979-8701

   6 Attorneys for Plaintiff SETH SHAPIRO

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   9
                         THE UNITED STATES DISTRICT COURT
  10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  11

  12

  13
       SETH SHAPIRO, an individual,            Case No: 2:19-cv-8972

  14                          Plaintiff,       THIRD AMENDED CIVIL
                                               COMPLAINT
  15                    vs.
                                               DEMAND FOR JURY TRIAL
  16 AT&T MOBILITY, LLC,
     SEQUENTIAL TECHNOLOGY
  17 INTERNATIONAL, LLC., and PRIME
     COMMUNICATIONS, L.P.,
  18
                              Defendants.
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   1 I. NATURE OF THE ACTION

   2         1. This action arises out of the repeated failure of AT&T and its agents to protect
   3 its wireless cell service subscriber—Seth Shapiro—from its own employees and

   4 agents, resulting in massive and ongoing violations of Mr. Shapiro’s privacy, the

   5 compromise of his highly sensitive personal and financial information, and the theft of

   6 approximately $1,921,355.80 in cryptocurrency, valued at considerably more now due

   7 to the rise in values since the time of the theft.

   8         2. AT&T is one of the country’s largest wireless service providers. Tens of
   9 millions of subscribers entrust AT&T with access to their confidential information,

  10 including information that can serve as a key to unlock subscribers’ highly sensitive

  11 personal and financial information.

  12         3. Recognizing the harms that arise when wireless subscribers’ personal
  13 information is accessed, disclosed, or used without their consent, federal and state

  14 laws require AT&T to protect this sensitive information.

  15         4. AT&T also recognizes the sensitivity of this data, and promises its 150 million
  16 mobile subscribers that it will safeguard their private information – and particularly

  17 their data-rich SIM cards – from any unauthorized disclosure. AT&T promises it “will

  18 protect the privacy of our customers,” will “safeguard the privacy of [customers’]

  19 personal identifying information,” and “[will] not sell, trade or share [customers’]

  20 CPNI — including [their] calling records — with anyone outside of the AT&T family

  21 of companies or with anyone not authorized to represent us to offer our products or

  22 services, or to perform functions on our behalf except as may be required by law or

  23 authorized by [the customer].”1 AT&T repeatedly broke these promises.2

  24         5. In an egregious violation of the law and its own promises, and despite
  25   1
           “Privacy Policy,” AT&T, effective June 16, 2006,
  26 web.archive.org/web/20060618204925/http://www.att.com/privacy/policy/, attached hereto as Exhibit A.
       2
           On information and belief, the terms of AT&T’s Privacy Policy remained similar throughout the duration of
  27 his contract. See Exhibit A1, “Privacy Policy,” AT&T, effective May 2, 2017,
       https://web.archive.org/web/20180519020538/http://about.att.com/sites/privacy_policy/full
  28 _privacy_policy
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   1 advertising itself as a leader in technological development and as a cyber security-

   2 savvy company, AT&T and its representatives and agents repeatedly failed to protect

   3 Mr. Shapiro’s account and the sensitive data it contained. AT&T failed to implement

   4 sufficient data security systems and procedures and failed to supervise its own

   5 personnel, instead standing by as its employees used their position at the company to

   6 gain unauthorized access to Mr. Shapiro’s account in order to rob, extort, and threaten

   7 him in exchange for money.

   8     6. AT&T’s actions and conduct were a substantial factor in causing significant
   9 financial and emotional harm to Mr. Shapiro and his family. But for AT&T

  10 employees’, representatives’ and agents’ involvement in a conspiracy to rob Mr.

  11 Shapiro, and AT&T’s failure to protect Mr. Shapiro from such harm through adequate

  12 security and oversight systems and procedures, Mr. Shapiro would not have had his

  13 personal privacy repeatedly violated and would not have been a victim of SIM swap

  14 theft.

  15     7. Mr. Shapiro brings this action to hold AT&T accountable for its violations of
  16 federal and state law, and to recover for the grave financial and personal harm

  17 suffered by Mr. Shapiro and his family as a direct result of AT&T’s acts and

  18 omissions, as detailed herein.

  19 II. THE PARTIES

  20     8. Plaintiff Seth Shapiro is, and at all relevant times was, a resident of California.
  21 Mr. Shapiro currently resides in Torrance, CA, with his wife and two young children.

  22     9. Mr. Shapiro is a two-time Emmy Award-winning media and technology expert,
  23 author, and is an adjunct professor at the University of Southern California School of

  24 Cinematic Arts. He regularly advises Fortune 500 companies on business

  25 development in media and technology.

  26     10. Mr. Shapiro is a former AT&T wireless customer. He purchased a wireless cell
  27 phone plan from AT&T in Los Angeles, California in approximately 2006 for

  28 personal use and was an active, paying AT&T wireless subscriber at all times relevant
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   1 to the allegations in this Complaint.

   2         11. Defendant AT&T Mobility, LLC (hereinafter, “AT&T”) is a Delaware limited
   3 liability corporation with its principal office or place of business in Brookhaven,

   4 Georgia. AT&T “provides nationwide wireless services to consumers and wholesale

   5 and resale wireless subscribers located in the United States or U.S. territories” and

   6 transacts or has transacted business in this District and throughout the United States. It

   7 is the second largest wireless carrier in the United States, with more than 153 million

   8 subscribers, earning $71 billion in total operating revenues in 2017 and $71 billion in

   9 2018. As of December 2017, AT&T had 1,470 retail locations in California.3

  10         12. AT&T provides wireless service to subscribers in the United States. AT&T is a
  11 “common carrier” governed by the Federal Communications Act (“FCA”), 47 U.S.C.

  12 § 151 et seq. AT&T is regulated by the Federal Communications Commission

  13 (“FCC”) for its acts and practices, including those occurring in this District.

  14         13. AT&T Inc., AT&T’s parent company, acknowledged in its 2018 Annual
  15 Report that its “profits and cash flow are largely driven by [its] Mobility business”

  16 and “nearly half of [the] company’s EBITDA (earnings before interest, taxes,

  17 depreciation and amortization) come from Mobility.”4

  18         14. Despite the importance of its mobility business, instead of focusing on ramping
  19 up security for its customers, AT&T Inc. instead went on an historic acquisition spree

  20 costing over $150 billion, acquiring: Bell South (including Cingular Wireless and

  21 Yellowpages.com), Dobson Communications, Edge Wireless, Cellular One,

  22 Centennial, Wayport, Qualcomm Spectrum, Leap Wireless, DirecTV, and Iusacell and

  23 NII Holdings (now AT&T Mexico). During the same period, AT&T’s mobile phone

  24 business was rated as the worst among major providers. Consumer Reports named it

  25 the “worst carrier” in 2010, and the next year, J.D. Power found AT&T’s network the

  26 least reliable in the country—a dubious achievement that it also earned in prior years.

  27
     3
       “About Us,” AT&T, https://engage.att.com/california/about-us/. All URLs in this complaint
  28 were last accessed on May 29, 2020.
       4
           Id.
                                                   -4-
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   1 Little wonder that its customers were the least happy of subscribers of the Big Four

   2 carriers according to the American Consumer Index. In the meantime, AT&T Inc.

   3 completed the $85.4 billion purchase of Time Warner Inc.—the owner of HBO,

   4 Warner Bros, CNN, Turner Broadcasting, Cartoon Network, Turner Classic Movies,

   5 TBS, TNT and Turner Sports.

   6     15. Defendant SEQUENTIAL TECHNOLOGY INTERNATIONAL, LLC
   7 (“Sequential”) is a Delaware Limited Liability Company with its principal place of

   8 business in Florida. Plaintiff is informed and believes and thereon alleges that

   9 Sequential acquired the assets and liabilities of Synchronoss Technologies Inc.

  10 (“Synchronoss”), which had contracted with AT&T contracted to provide call center

  11 services for AT&T’s mobile phone customers, and is thus legally responsible for the

  12 acts and omissions of Spring as alleged herein.

  13     16. Defendant PRIME COMMUNICATIONS, L.P. (“Prime”) is a Texas Limited
  14 Partnership with its principal place of business in Sugar Land, Texas. Plaintiff is

  15 informed and believes and thereon alleges that Prime is AT&T’s largest authorized

  16 dealer in the United States and provided call center services to AT&T. Plaintiff is

  17 informed and believes and thereon alleges that Prime acquired Spring

  18 Communications Holdings, Inc. (“Spring”) and all of its assets and liabilities, and is

  19 thus legally responsible for the acts and omissions of Spring as alleged herein.

  20     17. At all relevant times, Synchronoss and Spring were AT&T’s authorized
  21 representatives and agents and performed services for AT&T which were within the

  22 usual course of AT&T’s business.

  23     18. At all relevant times, AT&T dictated and controlled the manner and means by
  24 which Synchronoss and Spring performed their services for AT&T. On information

  25 and belief, AT&T entered into a master service agreement with Synchronoss and

  26 Spring which governed the terms and condition of AT&T’s relationship with

  27 Synchronoss and Spring, and which required the Synchronoss and Spring entities to

  28 strictly adhere to AT&T’s guidelines, protocols, policies, and procedures relating to
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   1 customer service, including those relating to SIM swaps. Furthermore, AT&T

   2 controlled the security measures it implemented across its entire network operation

   3 (including its own call centers and third-party call centers), as well as the data

   4 accumulated across the entire network, to monitor, detect and prevent unauthorized

   5 SIM swaps.

   6         19. At all relevant times, Synchronoss and Spring employees identified themselves
   7 to Mr. Shapiro as “AT&T” rather than Synchronoss and Spring (at AT&T’s

   8 direction), had full access to and use of the AT&T customer database which enabled

   9 them to perform customer service functions (including SIM swaps), did not disclose

  10 that they were employed by Synchronoss and Spring, and were in essence de facto

  11 employees of AT&T, and at a minimum agents of AT&T at all relevant times.

  12 III. JURISDICTION AND VENUE

  13         20. This Court has jurisdiction over this matter under 28 U.S.C. § 1331 because
  14 this case arises under federal question jurisdiction under the Federal Communications

  15 Act (“FCA”). The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

  16 the state law claims because the claims are derived from a common nucleus of

  17 operative facts. The Court also has jurisdiction over this action pursuant to 28 U.S.C.

  18 § 1332 because Mr. Shapiro is a citizen of a different state than AT&T, Synchronoss

  19 and Spring.

  20         21. This Court has personal jurisdiction over AT&T and its contractors
  21 Synchroness and Spring because AT&T purposefully directs its conduct at California,

  22 transacts substantial business in California (including in this District), has substantial

  23 aggregate contacts with California (including in this District), engaged and is

  24 engaging in conduct that has and had a direct, substantial, reasonably foreseeable, and

  25 intended effect of causing injury to persons in California (including in this District),

  26 and purposely avails itself of the laws of California. AT&T had more than 33,000

  27 employees in California as of 2017, and 1,470 retail locations in the state.5Mr. Shapiro

  28   5
           “About Us,” AT&T California, supra at 1.
                                                      -6-
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   1 purchased his AT&T wireless plan in California, visited AT&T retail locations in

   2 California, and was injured in California by the acts and omissions alleged herein.

   3     22. In accordance with 28 U.S.C. § 1391, venue is proper in this District because a
   4 substantial part of the conduct giving rise to Mr. Shapiro’s claims occurred in this

   5 District and Defendant transacts business in this District. Mr. Shapiro purchased his

   6 AT&T wireless plan in this District and was harmed in this District, where he resided,

   7 by AT&T’s acts and omissions, as detailed herein.

   8 IV. ALLEGATIONS APPLICABLE TO ALL COUNTS

   9     23. As a telecommunications carrier, AT&T is entrusted with the sensitive wireless
  10 account information and personal data of millions of Americans, including Mr.

  11 Shapiro’s confidential and sensitive personal and account information. AT&T’s duties

  12 to safeguard customer information are non-delegable to any other entity, including its

  13 third-party call contractors such as Synchroness and Spring.

  14     24. Despite its representations to its customers and its obligations under the law,
  15 AT&T has failed to protect Mr. Shapiro’s confidential information. On at least four

  16 occasions between May 16, 2018 and May 18, 2019, AT&T employees,

  17 representatives and agents obtained unauthorized access to Mr. Shapiro’s AT&T

  18 wireless account, viewed his confidential and proprietary personal information, and

  19 transferred control over Mr. Shapiro’s AT&T wireless number from Mr. Shapiro’s

  20 phone to a phone controlled by third-party hackers in exchange for money. The

  21 hackers then utilized their control over Mr. Shapiro’s AT&T wireless number—

  22 including control secured through cooperation with AT&T employees—to access his

  23 personal and digital finance accounts and steal more than $1.9 million from Mr.

  24 Shapiro, which is valued much higher today because of the increase in cryptocurrency

  25 values.

  26     25. This type of telecommunications account hacking behavior is known as “SIM
  27 swapping.”

  28        A. SIM Swapping is a Type of Identity Theft Involving the Transfer of a
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   1 Mobile Phone Number.

   2     26. A “SIM swap” is a relatively simple scheme, wherein a hacker gains control of
   3 a victim’s mobile phone number and service in order to intercept communications,

   4 including text messages, intended for the victim. The hackers then use that phone

   5 number as a key to access and take over the victim’s digital accounts, such as email,

   6 file storage, and financial accounts.

   7     27. Most cell phones, including the iPhone owned by Mr. Shapiro at the time of his
   8 SIM swaps, have internal SIM (“subscriber identity module”) cards. A SIM card is a

   9 small, removable chip that allows a cell phone to communicate with the wireless

  10 carrier and the carrier to know what subscriber account is associated with that phone.

  11 The connection between the phone and the SIM card is made by the carrier, which

  12 pairs each SIM card with the physical phone’s IMEI (“international mobile equipment

  13 identity”), which is akin to the phone’s serial number. Without a working SIM card

  14 and effective SIM connection, a phone typically cannot send or receive calls or text

  15 messages over the carrier network. SIM cards can also store a limited amount of

  16 account data, including contacts, text messages, and carrier information, and that data

  17 can help identify the subscriber.

  18     28. The SIM card associated with a wireless phone can be changed. If a carrier
  19 customer buys a new phone that requires a different sized SIM card, for example, the

  20 customer can associate his or her account with a new SIM card and the new phone’s

  21 IMEI by working with their cell phone carrier to effectuate the change. This allows

  22 carrier customers to move their wireless number from one cell phone to another and to

  23 continue accessing the carrier network when they switch cell phones. For a SIM card

  24 change to be effective, the carrier must authenticate the request and actualize the

  25 change. AT&T allows its employees to conduct SIM card changes for its customers

  26 remotely or in its retail stores.

  27     29. A SIM swap refers to an unauthorized and illegitimate SIM card change.
  28 During a SIM swap attack, the SIM card associated with the victim’s wireless account
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   1 is switched from the victim’s phone to a phone controlled by a third party. This

   2 effectively moves the victim’s wireless phone—including access to incoming data,

   3 texts, and phone calls associated with the victim’s phone—from the victim’s phone to

   4 a phone controlled by the third party (also referred to herein as a “hacker”). The

   5 hacker’s phone then becomes the only phone associated with the victim’s carrier

   6 account, and the hacker receives all of the text messages and phone calls intended for

   7 the victim.6 Meanwhile, the victim’s phone loses its connection to the carrier network.

   8       30. Once hackers have control over the victim’s phone number, they can use that
   9 control to access the victim’s personal online accounts, such as email and banking

  10 accounts, through exploiting password reset links sent via text message to the now-

  11 hacker-controlled-phone or the two-factor authentication processes associated with the

  12 victim’s digital accounts. Two-factor authentication allows digital accounts to be

  13 accessed without a password, or allows the account password to be changed. One

  14 common form of two-factor authentication is text messaging. Rather than enter a

  15 password, the hacker requests that a password reset be sent to the mobile phone

  16 number associated with the account. Because the hacker now controls that phone

  17 number, the reset code is sent to them. The hacker can then log into, and change the

  18 password for, the victim’s email, financial and other accounts, allowing them to

  19 access the contents of the account.7

  20       31. The involvement of a SIM swap victim’s wireless carrier is critical to a SIM
  21 swap. In order for an unauthorized SIM swap to occur and for a SIM swap victim to

  22
       6
         As described by federal authorities in prosecuting SIM swap cases, SIM swapping enables hackers to “gain
  23
       control of a victim’s mobile phone number by linking that number to a subscriber identity module (‘SIM’)
  24   card controlled by [the hackers]—resulting in the victim’s phone calls and short message service (‘SMS’)
       messages being routed to a device controlled by [a hacker].” United States of America v. Conor Freeman, No.
  25   2:19-cr-20246-DPH-APP (E.D. Mich. Filed Apr. 18, 2019) (hereafter, “Freeman Indictment”), ECF. No. 1 ¶ 3
       (attached hereto as Exhibit B).
       7
  26     See, e.g., id. at ¶ 4 (“Once [hackers] had control of a victim’s phone number, it was leveraged as a gateway
       to gain control of online accounts such as the victim’s email, cloud storage, and cryptocurrency exchange
  27   accounts. Sometimes this was achieved by requesting a password-reset link be sent via [text messaging] to the
       device control by [hackers]. Sometimes passwords were compromised by other means, and [the hacker’s]
  28   device was used to received two-factor authentication (‘2FA’) message sent via [text message] intended for
       the victim.”).
                                                              -9-
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    1 be at any risk, the carrier must receive a request to change a victim’s SIM card and

    2 effectuate the transfer of the victim’s phone number from one SIM card to another.

    3     32. In Mr. Shapiro’s case, not only did AT&T employees, representatives and
    4 agents access his account and authorize changes to that account without Mr. Shapiro’s

    5 consent, but its employees actively profited from this unauthorized access by

    6 knowingly giving control over his phone number to hackers for the purposes of

    7 robbing him.

    8        B. AT&T Allowed Unauthorized Access to Mr. Shapiro’s Account Four
    9 Times Over the Course of Approximately One Year.

   10     33. On four occasions in 2018 and 2019, Mr. Shapiro was the victim of an
   11 unauthorized “SIM swap.”

   12     34. Between May 16, 2018 and May 18, 2019, AT&T employees, representatives
   13 and agents accessed Mr. Shapiro’s AT&T wireless account without his authorization,

   14 obtained his confidential and proprietary personal information, and sold that

   15 information to third parties who then used it to steal from Mr. Shapiro, access his

   16 sensitive and confidential information, and threaten his family.

   17               The First SIM swap (May 16, 2018)
   18     35. On May 16, 2018 at approximately 1:35 PM ET, Mr. Shapiro’s AT&T SIM
   19 card was changed without his knowledge or authorization for the first time. On

   20 information and belief, the first SIM swap was conducted by an employee or agent of

   21 AT&T agent Synchronoss.

   22     36. At the time of the SIM swap, Mr. Shapiro was attending a conference in New
   23 York City. He noticed that his AT&T cell phone had lost service. Mr. Shapiro’s

   24 device was no longer connected to the AT&T wireless network, and he was no longer

   25 able to place or receive wireless calls.

   26     37. Mr. Shapiro immediately suspected that a SIM swap attack was underway and
   27 called AT&T to secure his account. Mr. Shapiro informed the AT&T customer service

   28 agent that he suspected his account had been accessed without authorization and that
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    1 he was in possession of large amounts of digital currency, which he feared could be at

    2 risk.

    3         38. During his call with AT&T, Mr. Shapiro repeatedly asked to speak to upper
    4 management or to be connected to the AT&T department responsible for security.

    5 AT&T records confirm Mr. Shapiro’s request to speak to the fraud department. Mr.

    6 Shapiro was (incorrectly) told that no such department existed, and his call was never

    7 escalated to management. Instead, he was put on lengthy holds and ultimately told to

    8 turn off his phone and go to an AT&T retail location for further assistance. His AT&T

    9 service was then suspended.

   10         39. Immediately upon ending the call with AT&T’s customer service, Mr. Shapiro
   11 went to an AT&T retail store in Manhattan, New York.8 On information and belief,

   12 the store was owned and operated by AT&T. Upon arriving, Mr. Shapiro informed

   13 AT&T employees, representatives and agents —including an AT&T sales

   14 representative, Juneice Arias—that he suspected unauthorized SIM swap activity on

   15 his account and once again advised that he had confidential information and digital

   16 currency at risk.

   17         40. AT&T employees, representatives and agents told Mr. Shapiro at that time that
   18 they had noted the SIM swap activity in his account. Mr. Shapiro implored AT&T for

   19 its assurance that it would not allow his mobile phone number to be swapped out

   20 again because the financial life or death of his family was at stake. An AT&T

   21 employee, representative and agent assured him that they were monitoring his account

   22 and that his SIM card would not be swapped again without his authorization. On this

   23 assurance, Mr. Shapiro decided not to close his AT&T account.

   24         41. AT&T employees, representatives and agents advised Mr. Shapiro to purchase
   25 a new wireless phone with a new SIM card from AT&T. AT&T employees,

   26 representatives and agents assured Mr. Shapiro that purchasing a new wireless phone

   27
        8
            This AT&T retail store is located at 1330 Avenue of the Americas, New York, NY 10019, and is listed on
   28 the att.com corporate website as an “AT&T” store.
                                                        - 11 -
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    1 with a new SIM card would secure his account and prevent additional SIM swap

    2 attacks. In reliance on this assurance, Mr. Shapiro purchased a new iPhone for several

    3 hundred dollars, as well as a new SIM card, in the AT&T retail store.9 AT&T

    4 employees then activated the new phone and the new SIM card and restored Mr.

    5 Shapiro’s service, thereby allowing Mr. Shapiro to regain control over his AT&T cell

    6 phone number.

    7                     The Second SIM Swap (May 16, 2018)
    8         42. Mere minutes later—while Mr. Shapiro was still in the AT&T retail store—Mr.
    9 Shapiro’s AT&T account was again improperly accessed, and the SIM card associated

   10 with his phone number was changed. Mr. Shapiro again lost control over his AT&T

   11 cell phone number. On information and belief, the first SIM swap was conducted by

   12 an employee or agent of AT&T agent Synchronoss.

   13         43. Mr. Shapiro immediately informed AT&T employees, representatives and
   14 agents that AT&T had once again allowed an unauthorized SIM swap. Employees

   15 informed him that he needed to wait until it was his turn to be assisted.

   16         44. Mr. Shapiro waited for approximately 45 minutes inside the AT&T retail store
   17 for help from AT&T employees, representatives and agents. In that time, third-party

   18 individuals were able to use their control over Mr. Shapiro’s AT&T cell phone

   19 number to access Mr. Shapiro’s personal and financial accounts and rob him of

   20 approximately $1.9 million (and valued much higher today because of the increase in

   21 cryptocurrency values), all while Mr. Shapiro stood helplessly in the AT&T store

   22 asking for the company’s help.

   23         45. While third parties had control over Mr. Shapiro’s AT&T wireless number,
   24 they used that control to access and reset the passwords for Mr. Shapiro’s email

   25 accounts, applications, and accounts on cryptocurrency exchange platforms, including

   26 KuCoin, Bittrex, Wax, Coinbase, Huobi, Crytopia, LiveCoin, HitBTC, Coss.io, Liqui,

   27 and Bitfinex. Cryptocurrency exchanges are online platforms where different forms of

   28   9
            “Privacy Policy,” AT&T, supra, attached hereto as Exhibit A.
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    1 cryptocurrency (e.g. bitcoin) are bought and sold.

    2        46. Before the May 2018 SIM swaps, Mr. Shapiro had raised funds in the form of
    3 cryptocurrency for a new business venture. This capital, as well as Mr. Shapiro’s

    4 personal funds, was accessed by the hackers utilizing their control over Mr. Shapiro’s

    5 AT&T wireless number, although the business funds were stored separately from Mr.

    6 Shapiro’s personal funds.

    7        47. By utilizing their control over Mr. Shapiro’s AT&T cell phone number—and
    8 the control of additional accounts (such as his email) secured through that number by

    9 utilizing two factor authentication—these third-party hackers were able to access Mr.

   10 Shapiro’s accounts on various cryptocurrency exchange platforms, including the

   11 accounts he controlled on behalf of his business venture. The hackers then transferred

   12 Mr. Shapiro’s currency from Mr. Shapiro’s accounts into accounts that they

   13 controlled.10 In all, they stole more than $1.9 million from Mr. Shapiro in the two

   14 consecutive SIM swap attacks on May 16, 2018, which is valued much higher today

   15 because of the increase in cryptocurrency values.

   16        48. On information and belief, the hackers also utilized their control over Mr.
   17 Shapiro’s AT&T wireless number to access and steal Mr. Shapiro’s currency on

   18 cryptocurrency exchanges (including Liqui.io, Livecoin, and Huobi) to which Mr.

   19 Shapiro was never able to regain access.

   20        49. The hackers also used their control over Mr. Shapiro’s AT&T cell phone
   21 number to access and change the passwords for approximately 15 of Mr. Shapiro’s

   22 online accounts, including four email addresses, his Evernote account (a web

   23 application for taking notes and making task lists), and his PayPal account (a digital

   24 payment platform).

   25        50. It took Mr. Shapiro approximately 14 hours to regain access to and restore
   26   10
        See Affidavit for Search Warrant, Florida v. Ricky Handschumacher, No. 18-cf-4271-AXWS (6th Dist. Fl.
      July 25, 2018) (attached hereto as Exhibit C) at p. 8 (explaining how hackers—including hackers involved in
   27 robbing Mr. Shapiro—would “gain access to the victim’s email accounts and cryptocurrency exchanges . . .
      [and] use the victim’s funds to purchase cryptocurrencies and transfer it to a accounts [sic] or wallets the
   28 [hackers] controlled.”). Due to the nature of cryptocurrency, this process makes it extremely difficult to track
      and seize the location of stolen cryptocurrency.
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    1 control over his email and other personal accounts. By then, however, the damage was

    2 done: these accounts, and all of their contents, had already been compromised.

    3         51. Criminal investigations into the May 2018 breaches to Mr. Shapiro’s AT&T
    4 account and the resulting theft revealed that at least two AT&T employees,

    5 representatives and agents, acting in the scope of their employment and agency,

    6 accessed and permitted others to access Mr. Shapiro’s AT&T account and the

    7 confidential information contained therein.11 As federal authorities describe, “These

    8 employees, while not necessarily knowing the entirety of [the hackers] plans, were

    9 aware that they were assisting in the theft of identities of subscribers to their

   10 employer’s services.”12

   11         52. The two AT&T employees, representatives and agents involved, Robert Jack
   12 and Jarratt White,13 reside in Arizona. AT&T confirmed their status as employees,

   13 representatives or agents ,14 their involvement in the unauthorized access of Mr.

   14 Shapiro’s account,15 and their involvement in the two SIM swaps that occurred on

   15 May 16, 2018.

   16         53. Specifically, criminal investigations reveal that a third-party (an individual
   17 identified by authorities as “JD”) paid Jack and White to change the SIM card

   18 associated with Mr. Shapiro’s AT&T account from the SIM card in Mr. Shapiro’s

   19 phone to a SIM card in a phone controlled by JD and others.16

   20         54. In order to effectuate the swaps, Jack and/or White used their access to Mr.
   21 Shapiro’s account—access gained through their AT&T employment—to view his

   22
        11
         See Criminal Complaint & Affidavit, United States of America v. Jarratt White, No. 2:19-mj- 30227-
   23
      DUTY (E.D. Mich. Filed May 2, 2019) (hereafter, “White Affidavit”), ECF No. 1 (attached hereto as Exhibit
      D).
   24 12
         Id. ¶ 8.
        13
   25        Id. ¶¶ 10-15 (describing White’s involvement in the unauthorized access of Mr. Shapiro’s
        AT&T account and the resulting theft) and ¶¶ 16-19 (describing Jack’s involvement).
        14
   26    Id. ¶ 15 (“AT&T confirmed that WHITE was a contract employee from Tucson, Arizona.”) and ¶
      16 (“Based on records provided from AT&T, ROBERT JACK, a second AT&T contract employee
      from Tucson, Arizona . . . .”)
   27 15
             Id. ¶¶ 11, 15-16.
        16
             Id. ¶¶ 11, 16-19.
   28
                                                     - 14 -
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    1 confidential AT&T account information and effectuate the SIM swaps without Mr.

    2 Shapiro’s knowledge or consent.

    3        55. JD paid White $4,300 in exchange for White using his position, knowledge,
    4 and authority as an AT&T employee, representative and agent to conduct SIM swaps,

    5 including the May 16, 2018 SIM swaps of Mr. Shapiro.17 White then paid Jack

    6 $585.25 for his involvement in the swaps.18

    7        56. On information and belief, AT&T data shows that White and Jack were prolific
    8 SIM swappers. White conducted 29 unauthorized SIM swaps in May 2018,19 while

    9 Jack conducted 12 unauthorized swaps that same month.20

   10        57. Criminal investigations have also identified the AT&T employees’,
   11 representatives’ and agents’ third-party co-conspirators and revealed additional

   12 information about the employees’, representatives’ and agents’ involvements in the

   13 scheme.

   14        58. For example, police officers located documents on the computer of one co-
   15 conspirator hacker (identified as “CS1”) labeled “ATT Plug.”21 In the SIM swap

   16 context, a “plug” is a telecommunication carrier employee who uses their knowledge

   17 and access to assist in SIM swaps.

   18        59. Investigators were also able to obtain a log of a chat conversation held online
   19 between the third-party co-conspirator hackers, wherein they plotted and executed the

   20 theft of Mr. Shapiro’s currency.22

   21        60. The chat begins with the group discussing working with an AT&T employee,
   22 representative and agent to access Mr. Shapiro’s AT&T wireless account and swap his

   23 SIM card. At 1:19 PM on May 16, 2018, one member of the group asks, “What is plug

   24

   25   17
         Id. ¶¶ 11-12.
        18
   26 19 Id. ¶ 19.
         Id. ¶ 15.
      20
   27 21 Id. ¶ 16.
         Ex. B at p. 7.
      22
         Id. at Attachment A.
   28
                                                 - 15 -
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    1 doing[?]”23On information and belief, this refers to the group’s AT&T plug: White

    2 Jack. The same member requests at 1:31 that another member “message [the plug] and

    3 tell him hurry up[.]”24

    4        61. Beginning at 1:38, a member informs the group that the plug is “doing it [right
    5 now]” and then: “It’s activated.”25 On information and belief, this refers to Mr.

    6 Shapiro’s AT&T account being activated on a phone utilized by the hackers – the

    7 result of a successful SIM swap effectuated by one or more of the involved AT&T

    8 employees, representatives and agents.

    9        62. Once the SIM swap was complete, the group began using their control over
   10 Mr. Shapiro’s AT&T wireless number to access his personal and financial accounts.

   11 At 1:58 and 2:10 PM, the chat log shows the group using Mr. Shapiro’s number

   12 (which they share over the chat) to access and reset the passwords for his email

   13 accounts.26

   14        63. At 2:18 PM, the chat log shows the group accessing Mr. Shapiro’s Bittrex
   15 account and withdrawing his digital currency.27

   16        64. The individuals would not have been able to access these accounts but for their
   17 utilization of Mr. Shapiro’s cell phone number, control of which was obtained through

   18 the use of AT&T’s employees, representatives and agents and systems.

   19        65. Throughout the chat, the group refers to an additional male individual—the
   20 AT&T plug—helping them access Mr. Shapiro’s account. At 3:11 PM, one member

   21 brags, “my ATT (AT&T) guy . . . Is a supervisor . . . He ain’t ever getting fired.”28

   22        66. The chat also reflects Mr. Shapiro’s attempt to regain control of his AT&T
   23 account. At 3:39, one member warns that Mr. Shapiro is “trying to get number

   24

   25   23
         Id. at Attachment A, p. 1.
        24
   26 25 Id. at Attachment A, p. 2.
         Id. at Attachment A, pp. 2-5.
      26
   27 27 Id. at Attachment A, pp. 5-6
         Id. at Attachment A, p. 6.
      28
         Id. at Attachment A, p. 7 (emphasis added).
   28
                                                     - 16 -
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    1 back.”29 Another—referring to the AT&T co-conspirator—ask whether he wants

    2 “[his] guy to swap it back?”30 At the end of the chat, a group member brags that they

    3 “made 1.3 [million]” and they begin plotting about how to route the stolen

    4 cryptocurrency through various accounts and currencies in order to cover their trail.31

    5 They also brag about plans to “buy some Gucci” or a “dream car” with the money

    6 they stole from Mr. Shapiro.32

    7        67. As these hackers and AT&T employees, representatives and agents stole Mr.
    8 Shapiro’s life savings and made plans to spend it on luxury goods, Mr. Shapiro was

    9 still standing in the AT&T retail store in Manhattan, NY, asking AT&T for help. He

   10 was told to wait as his accounts were drained and his personal information

   11 compromised.

   12        68. After the May 2018 SIM swaps, AT&T employees, representatives and agents
   13 told Mr. Shapiro that his account would be safe from future attacks because they had

   14 put a note on his account that would prevent any future SIM swaps.

   15        69. Mr. Shapiro also changed his AT&T account passcodes on the advice of
   16 AT&T employees, representatives and agents. AT&T informs its customers that these

   17 account passcodes— which are different than account sign-in passwords or the

   18 passcodes used to access a wireless device—are used to protect their wireless accounts

   19 and may be required when a customer manages their AT&T account online or in an

   20 AT&T store.33 AT&T employees, representatives and agents represented to Mr.

   21 Shapiro that this passcode would not be shared with anyone, and would protect his

   22 account from future unauthorized SIM swaps. Mr. Shapiro decided not to close his

   23 AT&T account in reliance on these assurances.

   24                 The Third SIM swap (November 1, 2018)
   25        70. Mr. Shapiro’s trust in AT&T was misplaced. On November 1, 2018, Mr.
   26   29
         Id. at Attachment A. p. 8.
        30
         Id.
   27 31 Id. at Attachment A. p. 10.
      32
         Id. at Attachment A. p. 9.
   28 33 “Get info on passcodes for wireless accounts,” AT&T,
      https://www.att.com/esupport/article.html#!/wireless/KM1049472?gsi=tp3wtr.
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    1 Shapiro again noticed that his cell phone had lost service and suspected a SIM swap.

    2 Shortly thereafter, he received an alert that someone had accessed and changed the

    3 password to—at minimum—his Google email accounts. This also caused all

    4 information stored in this account—including sensitive and confidential personal,

    5 financial, and legal information—to be compromised.

    6         71. Mr. Shapiro contacted AT&T and confirmed that he had indeed been SIM
    7 swapped a third time. Again, AT&T employees, representatives and agents

    8 represented to Mr. Shapiro that they had taken steps to prevent any further SIM swaps

    9 on his account. On information and belief, the third SIM swap was conducted by

   10 AT&T agent Spring, which was thereafter acquired by Defendant Spring.

   11         72. On May 14, 2019, Mr. Shapiro received a letter from AT&T’s Director of
   12 Compliance, Nena M. Romano, informing him that “an employee of one of [AT&T’s]

   13 service providers accessed [Mr. Shapiro’s] Customer Proprietary Network

   14 Information [CPNI] without authorization.”34 The letter did not indicate which of the

   15 three prior SIM swap attacks it concerned. It stated that AT&T had “taken appropriate

   16 action” regarding the AT&T employee, representatives and agents involved and had

   17 “notified federal law enforcement concerning the unauthorized access of your CPNI

   18 as required by Federal Communications Commission regulations.”

   19                    The Fourth SIM swap (May 18, 2019)
   20         73. Despite these assertions, Mr. Shapiro was SIM swapped for a fourth time on
   21 May 18, 2019, at approximately 10:45 PM. Again, Mr. Shapiro lost AT&T service

   22 and begun receiving alerts that the passwords for his personal digital accounts had

   23 been changed.

   24         74. Mr. Shapiro immediately contacted AT&T customer service. After several long
   25 holds and Mr. Shapiro’s repeated requests, his call was elevated to an AT&T

   26 supervisor. The supervisor, Marcus35 informed Mr. Shapiro that he had been SIM

   27 swapped again but refused to tell Mr. Shapiro who had authorized the swap. On

   28   34
             Attached hereto as Exhibit E.
        35
             The AT&T employees with whom Mr. Shapiro spoke refused to provide their last names.
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    1 information and belief, the fourth SIM swap was conducted by AT&T agent Spring,

    2 which was thereafter acquired by Defendant Spring.

    3     75. Mr. Shapiro asked the supervisor why the secret passcode that AT&T had
    4 promised him would protect his account failed to provide that protection. The AT&T

    5 supervisor refused to provide an answer.

    6     76. The supervisor then informed Mr. Shapiro that he would request that his
    7 AT&T account be transferred back to Mr. Shapiro’s phone. He estimated this would

    8 take between 2 and 4 hours. Meanwhile—upon information and belief— hackers

    9 continued to have control over his AT&T wireless account throughout that time, and

   10 used that control to access his personal and financial accounts.

   11     77. Mr. Shapiro repeatedly asked the supervisor to escalate his call to a higher
   12 authority at AT&T. Eventually, he was transferred to an AT&T manager, Tom. The

   13 manager informed him that in order to “reverse the unauthorized SIM card change,”

   14 he would need to “file a ticket” to submit a reversal request—which “normally

   15 completes within 2 to 4 hours.” He told Mr. Shapiro that he would sever the line in the

   16 meantime. It took the manager several minutes to “process” the ticket requesting a

   17 reversal. He then informed Mr. Shapiro that AT&T would send a pin code to another

   18 active line on his AT&T account to validate the reversal request. This required Mr.

   19 Shapiro to get his 12-year-old daughter out of bed, after midnight, to use her phone to

   20 receive the pin code. The manager told Mr. Shapiro they would “investigate” how his

   21 “account got compromised.”

   22     78. During this attack, Mr. Shapiro’s Yahoo, Google, Windows, PayPal, Coinbase,
   23 and Evernote accounts—at minimum—were accessed and their contents

   24 compromised. The hacker changed the passwords on his Evernote, PayPal, Coinbase,

   25 and Gmail accounts (temporarily locking Mr. Shapiro out of the accounts), changed

   26 the recovery email for his Gmail account to an email they controlled, and deleted his

   27 Gmail security question. This also caused all information stored in these accounts—

   28 including sensitive and confidential person, financial, and legal information—to be
                                              - 19 -
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    1 compromised.

    2         79. On July 19, 2019, Mr. Shapiro received another letter from AT&T’s Director
    3 of Compliance, Nena M. Romano, informing him that, once again, “an employee of

    4 one of [AT&T’s] service providers accessed [Mr. Shapiro’s] Customer Proprietary

    5 Network Information (CPNI) without authorization.”36 The letter did not indicate

    6 which of the four SIM swap attacks it concerned. It stated that AT&T had “taken

    7 appropriate action” regarding the AT&T employee, representative and agent involved

    8 and had “notified federal law enforcement concerning the unauthorized access of your

    9 CPNI as required by Federal Communications Commission regulations.”

   10         80. On September 6, 2019, Mr. Shapiro received a third letter from Ms. Romano,
   11 informing him that “an unknown and unauthorized person gained access to [Mr.

   12 Shapiro’s] Customer Proprietary Network Information (CPNI) without

   13 authorization.”37 Once again, the letter did not indicate which of the four SIM swap

   14 attacks it concerned. It stated that AT&T had “moved quickly to disable system access

   15 to the unauthorized person” and had “notified federal law enforcement concerning the

   16 unauthorized access of your CPNI as required by Federal Communications

   17 Commission regulations.”

   18         81. The SIM swaps have exposed Mr. Shapiro and his family to ongoing threats of
   19 physical harm and extortion. On February 10, 2019, Mr. Shapiro received—on the

   20 same AT&T wireless line that had been hacked—text message threats from an

   21

   22

   23

   24

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   28   36
             Attached hereto as Exhibit F.
        37
             Attached hereto as Exhibit G.
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   22 anonymous individual (set forth below in Figure 1).

   23     82. This individual knew Mr. Shapiro’s name and AT&T wireless number and
   24 warned that they had “access to all of [his] sensitive personal information[.]” The

   25 harasser also threatened an additional SIM swap and informed Mr. Shapiro that they

   26 still had access to AT&T employees, representatives and agents who would aid them

   27 in further harm against Mr. Shapiro. Specifically, they warned that they had “an

   28 AT&T rep ready to hand over [Mr. Shapiro’s] account to [them] at any given time[.]”
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    1 They warned that they knew where Mr. Shapiro and his family lived—and sent his

    2 exact current address (redacted below)—and demanded $800 to prevent harm to Mr.

    3 Shapiro and his family.

    4     83. After Mr. Shapiro received these threats, a sergeant at the Santa Clara County
    5 Sherriff’s Office informed Mr. Shapiro that he had personally contacted AT&T to

    6 inform them of the threats and requested that they monitor Mr. Shapiro’s accounts.

    7 Despite this warning, Mr. Shapiro’s account was authorized without his consent, and

    8 his SIM card swapped, approximately 3 months later.

    9     84. The financial and personal lives of Mr. Shapiro and his family have been
   10 devastated as a result of AT&T’s failure to safeguard Mr. Shapiro’s account.

   11     85. As a result of the May 2018 hacks detailed above, Mr. Shapiro lost more than
   12 $1.9 million in digital currency, valued much higher today because of the increase in

   13 cryptocurrency values. This money included the entirety of the profits from the sale of

   14 Mr. Shapiro’s family home and his life savings.

   15     86. The financial strain resulting from the robbery of Mr. Shapiro has caused
   16 extreme anxiety and distress for Mr. Shapiro and his family.

   17     87. Mr. Shapiro’s wife, who previously took full time care for their young child,
   18 has had to return to work due to the financial strain and pressure. As a consequence of

   19 the SIM swap attacks, she has suffered from anxiety, emotional distress, and loss of

   20 sleep and has had less time to see to the needs of her children.

   21     88. Mr. Shapiro’s two children have also suffered. Mr. Shapiro had to undertake
   22 the difficult task of explaining the theft to his four-year-old child, who now expresses

   23 fear of hackers and robbers and feelings of instability. The Shapiros also have a

   24 medically fragile child, who has suffered emotional distress as a result of the financial

   25 and emotional strain on the family. Both children require medical treatment as a result

   26 of the SIM swap attacks, and Mr. Shapiro has had to pay for that treatment out of

   27 pocket.

   28     89. Mr. Shapiro has experienced immense harm as a result of the SIM swaps. He
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    1 has suffered from anxiety, loss of sleep, and extreme depression. The emotional and

    2 financial consequences have also caused marital stress. Mr. Shapiro has had to seek

    3 extended professional medical help as a result.

    4        90. The digital currency stolen during the SIM swap attacks also included
    5 cryptocurrency raised by Mr. Shapiro for a business venture. As a result of the theft,

    6 Mr. Shapiro had to end the venture and lay off all employees. He intends to repay each

    7 of the investors the amount they invested in the project which was stolen during the

    8 SIM swap attacks. He also suffered professional reputational damages when the

    9 venture ended, and investments were lost as a result of the theft.

   10        91. Mr. Shapiro and his family’s highly sensitive and confidential personal, legal,
   11 and business information have also been compromised as a result of the SIM swaps.

   12 This includes color copies of their passports, their social security numbers, their TSA

   13 numbers, password and log-in information for additional accounts, and confidential

   14 financial, business, and legal information. All of this information is now at a high risk

   15 of being posted or bought and sold on the dark web by criminals and identity thieves,

   16 putting Mr. Shapiro, his wife, and two young children at ongoing risk of significant

   17 privacy violations, extortion, identity theft, and countless unknown harms.

   18           C. AT&T’s Repeated Failures to Protect Mr. Shapiro’s Account from
   19 Unauthorized Access Are a Violation of Federal Law.

   20        92. AT&T is the world’s largest telecommunications company and provider of
   21 mobile telephone services. As a common carrier,38 AT&T is governed by the Federal

   22 Communications Act of 1934, as amended (“FCA”),39 and corresponding regulations

   23 passed by the FCC.40

   24        93. Recognizing the sensitivity of data collected by cell carriers, Congress, through
   25 the FCA, requires AT&T to protect Mr. Shapiro’s sensitive personal information to

   26 which it has access as a result of its unique position as a telecommunications carrier.41

   27   38
         47 U.S. Code § 153(51).
        39
         47 U.S.C. § 151 et seq.
   28 40 47 C.F.R. § 64.2001 et seq.
      41
         47 U.S.C. § 222.
                                                 - 23 -
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    1        94. Section 222 of the FCA, which became part of the Act in 1996, requires AT&T
    2 to protect the privacy and security of information about its customers. Likewise,

    3 Section 201(b) of the Act requires AT&T’s practices related to the collection of

    4 information from its customers to be “just and reasonable” and declares unlawful any

    5 practice that is unjust or unreasonable.42

    6        95. AT&T’s most specific obligations to protect its customers concerns a specific
    7 type of information, called CPNI.43 CPNI is defined as “information that relates to the

    8 quantity, technical configuration, type, destination, location, and amount of use of a

    9 telecommunications service subscribed to by any customer of a telecommunications

   10 carrier, and that is made available to the carrier by the customer solely by virtue of the

   11 carrier-customer relationship; and . . . information contained in the bills pertaining to

   12 telephone exchange service or telephone toll service received by a customer of a

   13 carrier.”44

   14        96. The FCA recognizes the privacy interest in CPNI and “requires
   15 telecommunications carriers to take specific steps to ensure that CPNI is adequately

   16 protected from unauthorized disclosure.”45

   17        97. Carriers such as AT&T are liable for failures to protect their customers’
   18 unauthorized disclosures.46 The FCC has also stated that “[t]o the extent that a

   19 carrier’s failure to take reasonable precautions renders private customer information

   20 unprotected or results in disclosure of individually identifiable CPNI, . . . a violation

   21 of section 222 may have occurred.”47

   22
        42
           47 U.S.C. § 201(b).
        43
   23      47 U.S.C. § 222(a).
        44
           47 U.S.C. § 222(h)(1).
        45
   24    Report and Order and Further Notice of Proposed Rulemaking, In the Matter of
      Implementation of the Telecommunications Act of 1996: Telecommunications Carriers’ Use of Customer
   25 Proprietary Network Information and Other Customer Information, 22 F.C.C. Rcd. 6927 ¶ 1 (April 2, 2007)
      (hereafter, “2007 CPNI Order”).
   26 46 47 U.S.C. §§ 206, 207.
        47
          Declaratory Ruling, In the Matter of Implementation of the Telecommunications Act of 1996:
   27
        Telecommunications Carriers’ Use of Customer Proprietary Network Information & Other
   28 Customer Information, 28 F.C.C. Rcd. 9609 ¶ 30 (2013) (hereafter, “2013 CPNI Order”).
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    1        98. As AT&T admitted to Mr. Shapiro in its three letters, 48 his CPNI was breached
    2 by AT&T employees, representatives and agents or “unknown and unauthorized

    3 person[s]” when they accessed his account and swapped his SIM card without

    4 authorization. In each letter, AT&T informed Mr. Shapiro that “an employee of one of

    5 [its] service providers accessed [his] Customer Proprietary Network Information

    6 (CPNI) without authorization.”49

    7        99. When employees, representatives and agents accessed Mr. Shapiro’s account,
    8 his CPNI was visible. On information and belief, this includes, but was not limited to,

    9 information about the configuration, type, and use of his subscribed AT&T services,

   10 his personal information, his SIM card details, and his billing information. AT&T

   11 employees, representatives and agents then used this information to effectuate an

   12 unauthorized SIM swap.

   13        100. This type of unauthorized use of Mr. Shapiro’s CPNI is illegal under the
   14 FCA. The FCA forbids AT&T from “us[ing], disclos[ing], or permit[ting] access to”

   15 CPNI, except in limited circumstances.50 As AT&T admitted in its May 2019 letter,

   16 this extends to the carrier’s own employees, representatives and agents.

   17        101. AT&T may only use, disclose, or permit access to Mr. Shapiro’s CPNI: (1) as
   18 required by law; (2) with his approval; or (3) in its provision of the

   19 telecommunications service from which such information is derived, or services

   20 necessary to or used in the provision of such telecommunications service.51 Beyond

   21 such use, “the Commission’s rules require carriers to obtain a customer’s knowing

   22 consent before using or disclosing CPNI.”52

   23        102. AT&T failed to protect Mr. Shapiro from authorized use of his CPNI. AT&T
   24 permitted its employees, representatives and agents to use and/or disclose Mr.

   25 Shapiro’s CPNI without obtaining Mr. Shapiro’s knowing consent beforehand. AT&T

   26
        48
         See. Exs. E & F.
   27   49
         Id.
      50
         47 U.S.C. § 222(c)(1).
   28 51 47 U.S.C. § 222.
      52
         2007 CPNI Order ¶ 8 (emphasis added).
                                                  - 25 -
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    1 employees, representatives and agents, acting within the scope of their employment,

    2 likewise did not seek Mr. Shapiro’s knowing consent before using, disclosing, and/or

    3 permitting access to his CPNI when they accessed his account and swapped his SIM

    4 card. Because such conduct does not fit within the FCA’s recognized legitimate uses,

    5 it constitutes a violation of the FCA.

    6         103. Pursuant to the FCA, the FCC has developed comprehensive rules concerning
    7 AT&T’s obligations under its duty to protect customers’ CPNI.53 This includes rules

    8 “designed to ensure that telecommunications carriers establish effective safeguards to

    9 protect against unauthorized use or disclosure of CPNI.”54 The FCC specifically

   10 recognizes that “[a]bsent carriers’ adoption of adequate security safeguards,

   11 consumers’ sensitive information . . . can be disclosed to third parties without

   12 consumers’ knowledge or consent.”55 In a 2013 order, the FCC “clarif[ied] existing

   13 law so that consumers will know that their carriers must safeguard these kinds of

   14 information so long as the information is collected by or at the direction of the carrier

   15 and the carrier or its designee56 has access to or control over the information.”57

   16         104. Pursuant to these rules, AT&T must “implement a system by which the status
   17 of a customer’s CPNI approval can be clearly established prior to the use of CPNI.”58

   18 AT&T is also required to “design their customer service records in such a way that the

   19 status of a customer’s CPNI approval can be clearly established.”59 The FCC’s rules

   20 also “require carriers to maintain records that track access to customer CPNI

   21 records.”60

   22
        53
   23    See 47 CFR § 64.2001(“The purpose of the rules in this subpart is to implement section 222 of the
      Communications Act of 1934, as amended, 47 U.S.C. 222.”). The FCC also regularly releases CPNI
   24 orders that promulgate rules implementing its express statutory obligations. See 2007 CPNI Order
      and 2013 CPNI Order.
   25 54 2007 CPNI Order ¶ 9; see also Id. at ¶ 35; 47 U.S.C. § 222(c); 47 C.F.R. § 64.2009.
        55
             Id.
   26   56
             In the ruling, “designee” is defined as “an entity to which the carrier has transmitted, or
      directed the transmission of, CPNI or is the carrier’s agent.” Id. n. 1.
   27 57 Id. at ¶ 1 (emphasis added).
      58
         2007 CPNI Order ¶¶ 8-9 (emphasis added); see also 47 C.F.R. § 64.2009(a).
   28 59 Id. ¶ 9.
      60
         Id.
                                                            - 26 -
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    1         105. Upon information and belief, AT&T has failed to implement such a system.
    2 The fact that Mr. Shapiro’s account was accessed without his authorization on at least

    3 four separate occasions demonstrates AT&T’s failures in this regard.

    4         106. AT&T’s failures are particularly egregious because Mr. Shapiro contacted
    5 AT&T following each SIM swap attack and provided specific instructions that

    6 employees, representatives and agents were not to access his CPNI without his

    7 express, prior approval, as established through the use of passcodes. Mr. Shapiro was

    8 told that specific warnings would be placed on his account to this affect. These

    9 instructions and warnings were ineffective, as shown by the repeated breaches of Mr.

   10 Shapiro’s account.

   11         107. AT&T is also required to “train their personnel as to when they are and are
   12 not authorized to use CPNI, and carriers must have an express disciplinary process in

   13 place.”61

   14         108. Upon information and belief, AT&T has failed to properly train and supervise
   15 their personnel, as reflected by AT&T employees’, representatives’ and agents’

   16 involvement in Mr. Shapiro’s breaches.

   17         109. Carriers must “maintain a record of all instances where CPNI was disclosed
   18 or provided to third parties, or where third parties were allowed access to CPNI.”62

   19         110. Upon information and belief, AT&T has failed to maintain such a record, as
   20 demonstrated by its repeated failure to protect Mr. Shapiro after his CPNI was

   21 provided to third-parties.

   22         111. AT&T has also breached its duty to safeguard Mr. Shapiro’s CPNI from data
   23 breaches, in violation of Section 222(a) and Section 201(b) of the FCA.

   24         112. The FCC has “[made] clear that carriers’ existing statutory obligations to
   25 protect their customers’ CPNI include[s] a requirement that carriers take reasonable

   26 steps, which may include encryption, to protect their CPNI databases from hackers

   27   61
             47 C.F.R. § 64.2009(b).
        62
             Id.; see also 47 C.F.R. § 64.2009(c).
   28
                                                          - 27 -
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    1 and other unauthorized attempts by third parties to access CPNI.”63

    2        113. AT&T failed to take reasonable steps to protect Mr. Shapiro’s CPNI, thereby
    3 allowing third-party hackers to access his CPNI on at least four occasions.

    4        114. The FCC also requires that carriers inform customers – and law enforcement
    5 – “whenever a security breach results in that customer’s CPNI being disclosed to a

    6 third party without that customer’s authorization.”64 This requirement extends to any

    7 unauthorized disclosure.

    8        115. In adopting this requirement, the FCC rejected the argument that it “need not
    9 impose new rules about notice to customers of unauthorized disclosure because

   10 competitive market conditions will protect CPNI from unauthorized disclosure.”65

   11        116. Instead, the FCC found that “[i]f customers and law enforcement agencies are
   12 unaware of [unauthorized access], unauthorized releases of CPNI will have little

   13 impact on carriers’ behavior, and thus provide little incentive for carriers to prevent

   14 further unauthorized releases. By mandating the notification process adopted here, we

   15 better empower consumers to make informed decisions about service providers and

   16 assist law enforcement with its investigations. This notice will also empower carriers

   17 and consumers to take whatever ‘next steps’ are appropriate in light of the customer’s

   18 particular situation.”66 The FCC specifically recognized that this notice could allow

   19 consumers to take precautions or protect themselves “to avoid stalking or domestic

   20 violence.”67

   21        117. AT&T failed in its duty to safeguard Mr. Shapiro’s CPNI from breaches and,
   22 upon information and belief, has failed to properly inform him of such breaches when

   23 they occurred. Mr. Shapiro only received any documentation alerting him that his

   24 CPNI had been breached after the third hack; he received no such notice following the

   25
        63
         2007 CPNI Order ¶ 36 (citation omitted).
   26   64
         2007 CPNI Order ¶ 26; see also 47 C.F.R § 64.2011(c).
      65
   27 66 2007 CPNI Order ¶ 30.
         Id.
      67
         Id. at n.100.
   28
                                                    - 28 -
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    1 first two SIM swap attacks. Additionally, he only received documentation for three

    2 out of four total attacks.

    3        118. Under the FCA, AT&T is not just liable for its own violations of the Act, but
    4 also for violations that it “cause[s] or permit[s].”68 By failing to secure Mr. Shapiro’s

    5 account and protect his CPNI, AT&T caused and/or permitted Mr. Shapiro’s CPNI to

    6 be accessed and used by its own employees and by third-party hackers.

    7        119. AT&T is also responsible for the acts, omissions, and/or failures of officers,
    8 agents, employees, or any other person acting for or employed by AT&T, including

    9 employees, representatives and agents Jack and White.

   10           D. Mr. Shapiro’s Harm was Caused by Defendants’ Negligence.
   11        120. Defendants were negligent in numerous respects: (1) AT&T was negligent,
   12 grossly negligent or reckless in (a) hiring, training and supervising its agents

   13 Synchronoss and Spring, (b) hiring, training and supervising its own retail employees

   14 who forced Mr. Shapiro to wait for a considerable time while he was being SIM

   15 swapped, (c) failing to implement readily available technology solutions and other

   16 measures to prevent SIM swaps, and (d) instead seeking to profit from the SIM swap

   17 problem by focusing on developing a post-SIM swap solution as set forth in detail

   18 below; (2) Synchronoss was negligent, grossly negligent or reckless in hiring, training

   19 and supervising its employees or agents Jack and White who were involved in the

   20 conspiracy to defraud Mr. Shapiro; and (3) Spring (now Spring) was negligent,

   21 grossly negligent or reckless in hiring, training and supervising its employees or

   22 agents involved in the third and fourth SIM swaps of Mr. Shapiro.

   23        121. By failing to secure Mr. Shapiro’s account—and protect the confidential and
   24 sensitive data contained therein—and to properly hire, train, and supervise their

   25 employees, representatives and agents, Defendants are responsible for the foreseeable

   26   68
        See 47 U.S.C.A. § 206 (establishing that “[i]n case any common carrier shall do, or cause or
   27 permit to be done, any act, matter, or thing in this chapter prohibited or declared to be unlawful, or
      shall omit to do any act, matter, or thing in this chapter required to be done such common carrier
   28 shall be liable to the person or persons injured thereby for the full amount of damages sustained in
      consequence of any such violation of the provisions of this chapter[.]”)
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    1 harm Mr. Shapiro suffered as a result of Defendants’ gross negligence or reckless

    2 conduct. Further, Defendants are responsible for their representatives’ and agents’

    3 failure to obtain Mr. Shapiro’ valid consent before accessing his account and

    4 effectuating a SIM swap, as such actions were within the scope of their agency or

    5 employment with Defendants. On information and belief, Defendants’ representatives

    6 and agents were tasked with and able to change customers’ SIM card numbers at will

    7 – even when such changes violated AT&T company policy. Additionally, Defendants

    8 representatives’ and agents’ breach of Mr. Shapiro’s account and the subsequent SIM

    9 swap was foreseeable. AT&T has known for more than a decade that third parties

   10 frequently attempt to access and take over mobile customers’ accounts for fraudulent

   11 purposes.

   12         122. Further, AT&T is responsible for its employees’, representatives’ and agents’
   13 participation in the conspiracy to rob Mr. Shapiro, as such actions were within the

   14 scope of their employment with AT&T. On information and belief, AT&T employees,

   15 representatives and agents were tasked with and able to change customers’ SIM cards.

   16         123. Additionally, AT&T employees’ breach of Mr. Shapiro’s account and the
   17 subsequent SIM swaps were foreseeable. AT&T knew or should have known that Mr.

   18 Shapiro’s account was at risk, but nonetheless failed to secure his account and failed

   19 to properly hire, supervise and train its employees, representatives and agents.

   20         124. AT&T has known for more than a decade that third parties frequently attempt
   21 to access wireless customers’ accounts for fraudulent purposes. In 2007, the FCC

   22 issued an order strengthening its CPNI rules in response to the growing practice of

   23 “pretexting.”69 Pretexting is “the practice of pretending to be a particular customer or

   24 other authorized person in order to obtain access to that customer’s call detail or other

   25 private communication records.”70 This 2007 Order put AT&T on notice that its

   26 customers’ accounts were vulnerable targets of the third-parties seeking unauthorized

   27 access.

   28   69
             2007 CPNI Order.
        70
             Id. ¶ 1.
                                                 - 30 -
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    1      125. AT&T also knew, or should have known, about the risk SIM swap crimes
    2 presented to its customers. SIM swap crimes have been a widespread and growing

    3 problem for years. The U.S. Fair Trade Commission (“FTC”) reported in 2016 that

    4 there were 1,038 reported SIM swap attacks per month in January 2013, which

    5 increased sharply to 2,658 per month by January 2016—2.5 times as many.71 The FTC

    6 reported that SIM swaps represented 6.3% of all identity thefts reported to the agency

    7 in January 2016, and that such thefts “involved all four of the major mobile carriers” –

    8 including AT&T.72

    9      126. AT&T knew or should have known that it needed to take steps to protect its
   10 customers. The FTC’s 2017 Report stated that “mobile carriers are in a better position

   11 than their customers to prevent identity theft through mobile account hijacking[.]”73

   12 The FTC urged carriers such as AT&T to “adopt a multilevel approach to

   13 authenticating both existing and new customers and require their own employees as

   14 well as third-party retailers to use it for all transactions.”74 The FTC also specifically

   15 warned carriers, including AT&T, of the risk that, due to text message password reset

   16 requests and two-factor authentication, SIM swapping put subscribers at risk of

   17 financial loss and privacy violations:

   18
                      Having a mobile phone account hijacked can waste hours of
   19                 a victim’s time and cause them to miss important calls and
                      messages. However, this crime is particularly problematic
   20                 due to the growing use of text messages to mobile phones as
                      part of authentication schemes for financial services and other
   21                 accounts. The security of two factor authentication schemes
                      that use phones as one of the factors relies on the assumption
   22                 that someone who steals your password has not also stolen
                      your phone number. Thus, mobile carriers and third-party
   23                 retailers need to be vigilant in their authentication practices
   24
      71
         Lori Cranor, FTC Chief Technologist, “Your mobile phone account could be hijacked by an
   25 identity thief,” Federal Trade Commission (June 7, 2016), https://www.ftc.gov/newsevents/

   26 blogs/techftc/2016/06/your-mobile-phone-account-could-be-hijacked-identity-thief
      (hereafter, “2017 FTC Report”).
      72
   27 73 Id.
         Id. (emphasis added).
      74
         Id.
   28
                                                  - 31 -
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                          to avoid putting their customers at risk of major financial loss
    1                     and having
                          email, social network, and other accounts compromised.75
    2

    3         127. AT&T admitted it was aware of SIM swap crimes and the effect they could
    4 have on its customers in September 2017 when AT&T’s Vice President of Security

    5 Platforms published an article on AT&T’s “Cyber Aware” blog about SIM swaps.76 In

    6 the article, AT&T acknowledged that subscribers with “valuable accounts that are

    7 accessible online” are likely targets of SIM swaps. AT&T recommended that its

    8 customers set up passcodes that would provide “extra security.” These passcodes

    9 repeatedly failed to protect Mr. Shapiro.

   10         128. AT&T therefore knew that its customers’ accounts were at risk at least 8
   11 months before any breaches of Mr. Shapiro’s account. At the time of his first attack in

   12 May 2018, Mr. Shapiro informed AT&T—both on the phone and in person—that he

   13 had valuable online accounts, thereby making him the type of individual that AT&T

   14 recognized was specifically vulnerable to SIM swap attacks. Nonetheless, AT&T

   15 failed to take reasonable steps to protect his account.

   16         129. AT&T’s inadequate security procedures are particularly egregious in light of
   17 AT&T’s repeated public statements about the importance of cyber security and its

   18 public representations about its expertise in this area. AT&T has an entire series on its

   19 public YouTube channel (“AT&T ThreatTraq”) dedicated to discussing and analyzing

   20 emerging cybersecurity threats.77 In its videos, AT&T describes itself as a “network

   21 that senses and mitigates cyber threats.”78

   22         130. AT&T recognizes the risks that arise when a cell phone is compromised,
   23 stating, “Our phones are mini-computers, and with so much personal data on our

   24 phones today, it’s also important to secure our mobile devices.”79 AT&T’s

   25   75
             Id. (emphasis added).
        76
        Brian Rexroad, “Secure Your Number to Reduce SIM Swap Scams,” AT&T’s Cyber Aware
   26 (Sep. 2017), https://about.att.com/pages/cyberaware/ni/blog/sim_swap.
        77
             “AT&T Tech Channel,” YouTube, https://www.youtube.com/user/ATTTechChannel.
   27   78
             “AT&T – Protect Your Network with the Power of &,” VIMEO, https://vimeo.com/172399153.
        79
   28        AT&T, “Mobile Security,” YOUTUBE (Feb. 12, 2019),

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    1 advertisements also stress how central a role cell phones play in its customer’s lives,

    2 stating: “My phone is my life” and “My phone is everything.” The same ad stresses

    3 how the inability to use a cell phone makes people feel “completely untethered,

    4 flailing around.”80

    5         131. AT&T markets its ability to identify to and neutralize emerging cyber threats
    6 for its customers. In one video, AT&T employees discuss “threat hunting” which they

    7 describe as “an active threat analysis where you’re actually thinking about your

    8 adversary.”81 They claim that it’s “important” and “something [AT&T has] been

    9 doing for a long time.”82 They advise that companies should think about “what would

   10 a hacker want to do, where would a hacker go to get my data, what are some of the

   11 points on my network that are most vulnerable, or where is the data flow that is

   12 potentially going to be a leakage” and state that “having threat hunting as part of a

   13 proactive continuous program, integrating with existing security measures, will help

   14 [you] stay ahead of the threats.”83

   15         132. Not only did AT&T advise staying ahead of and addressing cyber threats, it
   16 also stressed that these practices could even help identify “insider threats”—

   17 employees within the company.

   18         133. In an additional video focused on insider threats, AT&T employees,
   19 representatives and agents go on at length about the threat of company insiders selling

   20 corporate information and access, citing a survey showing that “30% [of respondents]

   21 had purposefully sent data outside of their organization at some point in time” and

   22 “14% of the people that were interviewed said they would actually sell their corporate

   23 log-ins to folks on the outside or sell that data for less than about $250 US.”84 They

   24 https://www.youtube.com/watch?v=KSPHS89VnX0.
        80
             “AT&T Mobile Movement Campaign – Ads,” VIMEO, https://vimeo.com/224936108.
   25   81
             AT&T Tech Channel, “The Huntin’ and Phishin’ Episode,” YOUTUBE (Apr. 21, 2017),
        https://www.youtube.com/watch?v=3g9cPCiFosk.
   26   82
           Id.
        83
           Id.
   27   84
             AT&T ThreatTraq, “The Real Threat of Insider Threats,” YouTube (May 5, 2017),
        https://www.youtube.com/watch?v=ZM5tuNiVsjs (emphasis added).
   28
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    1 cited as a “significant concern” the “individuals that have privileged access, that have

    2 broad access inside an organization.”85 AT&T therefore knew or should have known

    3 that there was a significant risk that its own employees, representatives and agents

    4 would sell AT&T data— including customer account data—and that the risk was

    5 heightened when employees had too broad of an access to corporate systems, yet

    6 AT&T failed to put sufficient systems and resources in place to mitigate that risk,

    7 despite its own advice to the contrary.

    8        134. AT&T has also recognized the danger presented to its customers when their
    9 email addresses are hacked, as Mr. Shapiro’s was on multiple occasions as a result of

   10 AT&T’s failures. As one AT&T employee puts it: “I think most people do have

   11 something valuable [in their email accounts], which is access to all their other

   12 accounts, which you can get with a password reset.”86 They call this “something worth

   13 keeping safe.”87 They advised that a “strong, obviously, security awareness program

   14 within a company . . . is extremely important.”88

   15        135. In this video series, AT&T makes specific mentions of SIM swapping
   16 activity. In one video, AT&T’s Vice President of Security Platforms (Brian Rexroad)

   17 and Principal of Technology Security (Matt Keyser) discuss the hack of a forum

   18

   19

   20

   21

   22

   23

   24

   25

   26   85
         Id.
        86
   27 87 Id.
         Id.
      88
         Id.
   28
                                               - 34 -
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    1 called OGusers.89 In the segment, they discuss the hacking of social media users’

    2 account names and point to a news story that highlights—in distinct orange type—that

    3 OGusers is a forum popular among people “conducting SIM swapping attacks to seize

    4 control over victims’ phone numbers.”90

    5        136. AT&T was therefore well aware of the significant risk that AT&T employees,
    6 representatives and agents and SIM swapping presented to its customers, and the need

    7 to mitigate such risks, but nonetheless failed to take adequate steps to protect Mr.

    8 Shapiro. Instead, it continued to make public statements giving rise to a reasonable

    9 expectation that AT&T could—and would—protect its customers.

   10        137. Additionally, Mr. Shapiro’s hack was foreseeable because at least two of the
   11 AT&T employees, representatives and agents involved—Jack and White—were

   12 involved in a suspiciously high number of unauthorized SIM swaps the very same

   13 month of Mr. Shapiro’s first and second hacks. White conducted 29 unauthorized SIM

   14 swaps in May 2018, while Jack conducted 12 unauthorized swaps that same month.

   15 This suspicious activity should have raised alarms at AT&T, but the company

   16 nonetheless failed to protect Mr. Shapiro from these employees, representatives and

   17 agents.

   18        138. The risk to Mr. Shapiro’s account, specifically, was particularly foreseeable
   19 after the very first breach on May 16, 2018. Despite confirming that a breach had

   20 occurred, AT&T employees, representatives and agents refused to help Mr. Shapiro

   21 when his account was again breached and his SIM card swapped just a few minutes

   22 after he restored control over his account on May 16. Instead, AT&T did nothing

   23 while its employees, representatives and agents aided hackers in their more than $1.9

   24 million theft from Mr. Shapiro, valued much higher today because of the increase in

   25
        89
   26     AT&T ThreatTraq, “5/31/19 Account-hacking Forum OGusers Hacked,” YOUTUBE (May 31
        2019), https://www.youtube.com/watch?time_continue=234&v=cS4xV3cej3A.
        90
   27    Id.; see also Freeman Indictment at ¶ 2 (Describing how “discussions—such as discussing the
        manner and means to [SIM swap] attacks generally, and networking among [SIM swap
   28 hackers]—typically took place on forums such as “OGusers.”).
                                                   - 35 -
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    1 cryptocurrency values.

    2        139. Even after two documented account breaches and unauthorized SIM swaps in
    3 May, AT&T failed to protect Mr. Shapiro’s account on two additional occasions in

    4 November 2018 and May 2019.

    5        140. That Mr. Shapiro was at risk of account breaches at the hands of AT&T
    6 employees, representatives and agents is particularly foreseeable—and AT&T’s

    7 failures are particularly stark—in light of AT&T’s history of unauthorized employees,

    8 representatives and agents access to customer accounts.

    9        141. In 2015, AT&T faced an FCC enforcement action, and paid a $25 million
   10 civil penalty, for nearly identical failures to protect its customers’ sensitive account

   11 data.91 In that case, as AT&T admitted, employees, representatives and agents at an

   12 AT&T call center breached 280,000 customers’ accounts.92 Specifically, AT&T

   13 employees, representatives and agents had improperly used login credentials to access

   14 customer accounts and access customer information that could be used to unlock the

   15 customers’ devices.93 The employees, representatives and agents then sold the

   16 information they obtained from the breaches to a third party.94

   17        142. The FCC concluded that AT&T’s “failure to reasonably secure customers’
   18 proprietary information violates a carrier’s statutory duty under the Communications

   19 Act to protect that information, and also constitutes an unjust and unreasonable

   20 practice in violation of the Act.”95

   21        143. The FCC stressed that the FCA is intended to “ensure that consumers can
   22 trust that carriers have taken appropriate steps to ensure that unauthorized persons are

   23 not accessing, viewing or misusing their personal information.”96 It stressed its

   24 expectation that “telecommunications carriers such as AT&T . . . take ‘every

   25   91
         In the Matter of AT&T Servs., Inc., 30 F.C.C. Rcd. 2808 (2015).
        92
   26 93 Id. ¶ 1.
         Id. ¶¶ 7, 11.
      94
   27 95 Id. ¶ 1.
         Id. ¶ 2.
      96
         Id.
   28
                                                   - 36 -
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    1 reasonable precaution’ to protect their customers’ data[.]”97

    2         144. As part of its penalty, AT&T entered into a stipulated Consent Decree with
    3 the FCC, in which AT&T agreed to develop and implement a compliance plan to

    4 ensure appropriate safeguards to protect consumers against similar breaches by

    5 improving its privacy and data security practices.98

    6         145. This FCC enforcement action underscores AT&T’s knowledge of the risk its
    7 employees presented to customers, the prevalence of employee breaches to customer

    8 data, the sensitive nature of customer CPNI, and its duties to protect and safeguard

    9 that data.

   10         146. Nonetheless, more than 3 years after stipulating to the Consent Decree,
   11 AT&T still failed to protect its customer from employee, representative and agent

   12 breaches of customer CPNI and other account data, virtually identical to the breach at

   13 issue here, heightening the degree of its negligence.

   14         147. In January 2020, Princeton researchers released a study finding that top U.S.
   15 mobile carriers, including AT&T, do little to protect customers from SIM swap

   16 fraud.99 The study stated “We examined the authentication procedures used by five

   17 prepaid wireless carriers when a customer attempted to change their SIM card. We

   18 found that all five carriers used insecure authentication challenges that could be

   19 easily subverted by attackers. We also found that attackers generally only needed to

   20 target the most vulnerable authentication challenges, because the rest could be

   21 bypassed.” The researchers pretended to be the true phone owner and said they forgot

   22 answers to security questions study stating, “Our key finding is that, at the time of our

   23 data collection, all 5 carriers used insecure authentication challenges that could easily

   24 be subverted by attackers.” The study also found: (i) Callers only needed to

   25 successfully respond to one challenge in order to authenticate, even if they had failed

   26   97
             Id.
        98
             Id. ¶¶ 2, 17-18, 21.
   27   99
         “An Empirical Study of Wireless Carrier Authentication for SIM Swaps” Kevin Lee, Ben Kaiser,
      Jonathan Mayer, Arvind Narayanan Dept of Computer Science and Center for Information
   28 Technology Policy, Princeton University, January 10, 2020 at
      https://www.issms2fasecure.com/assets/sim_swaps-01-10-2020.pdf
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    1 numerous prior challenges. (ii) Four-fifths of SIM-swap fraud attempts were

    2 successful, and the researchers attempted 50 SIM swaps and successfully completed

    3 39. (iii) AT&T, Verizon and T-Mobile failed the study. (iv) Some carriers even guided

    4 them to the correct answer or didn't ask for anything at all. The Princeton study was

    5 widely reported in the media and prompted Congress to get involved. In January

    6 2020, Senator Ron Wyden and 5 other Senators and Congressmen published a letter to

    7 FCC Chairman Ajit Pai calling on him to take action to protect consumers against

    8 SIM swap fraud, with the Senator stating “SIM swap fraud may also endanger

    9 national security. For example, if a cybercriminal or foreign government uses a SIM

   10 swap to hack into the email account of a local public safety official, they could then

   11 leverage that access to issue emergency alerts using the federal alert and warning

   12 system operated by the Federal Emergency Management Agency.”100 Senator Wyden

   13 also stated, “Consumers are at the mercy of wireless carriers when it comes to being

   14 protected against SIM swaps."101

   15         148. According to a Wall Street Journal (“WSJ”) article from November 2019, “He
   16 Thought His Phone Was Secure; Then He Lost $24 Million to Hackers,” investigators

   17 say they know of more than 3,000 SIM swap victims, accounting for at least $70

   18 million in theft nationwide (the real numbers are likely much higher considering that

   19 many cases go unreported).102 The WSJ article states, “the people who investigate

   20 these attacks consider them some of the most harmful they have ever seen.” 102

   21 Victims include high profile public officials, celebrities, and business executives like

   22 Jack Dorsey, the CEO of Twitter, whose 2019 SIM swap hack was profiled in the

   23 Forbes article “Why Twitter Blames AT&T For The Hack Of Its CEO Jack Dorsey

   24 Account, Sending Shocking Racist Tweets,” and quotes Jeb Su, a Principal Analyst at

   25 Atherton Research as saying “AT&T’s poor security policy made this malicious [SIM

   26   100
          https://docs.fcc.gov/public/attachments/DOC-362599A1.pdf
        101
   27 102 https://twitter.com/ronwyden/status/1215757690875600896
          https://www.wsj.com/articles/he-thought-his-phone-was-secure-then-he-lost-24-million-to-
   28 hackers-11573221600.

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    1 swap] hack possible.” 103 The same hacker who executed Jack Dorsey’s SIM swap

    2 also successfully hacked the District Attorney prosecuting the hacker of another

    3 AT&T customer.104

    4     149. The SIM swap problem is exacerbated by AT&T’s sprawling, mismanaged
    5 and problematic call center system. In 2017, AT&T’s parent (AT&T, Inc.) had

    6 254,000 employees105 and 38 third-party call centers across eight non-US countries.106

    7 A study by the Communication Workers of America (“CWA”) entitled “AT&T 2018

    8 Jobs Report: Telecom Giant Hollows Out Middle Class Workforce and Outsources to

    9 Global Contractors, Even as it Reaps Tax Windfall” details how AT&T’s call center

   10 operation is fundamentally broken. Among the key findings were that (i) employees

   11 at AT&T vendor call centers face inadequate training and intense pressure to reach

   12 unrealistic quotas – making it difficult to meet customer’s needs; (ii) overseas

   13 vendors, paid as little as $1.60 per hour and often rely on other members of their

   14 household to make ends meet, provide inaccurate information, fail to solve problems,

   15 offer credits or promotions that cannot be honored, and enroll customers in services

   16 they did not request; and (iii) the problems caused by overseas operations add to the

   17 burden of U.S. based workers, thereby affecting their work. On information and

   18 belief, all of AT&T’s numerous customer service representatives are authorized to

   19 perform SIM swaps, exacerbating the problem. In order to address its organizational

   20 failings, AT&T could have created a call center dedicated to SIM swaps, and properly

   21 vetted, trained and supervised SIM swap customer service representatives, in order to

   22 address the problem of unauthorized SIM swaps.

   23

   24
      103
          https://www.forbes.com/sites/jeanbaptiste/2019/08/31/why-twitter-blames-att-for-ceo-jack-
   25 dorsey-account-hack-sending-shocking-racist-tweets/.
      104
          “Authorities Arrest Alleged Member of Group That Hacked Jack Dorsey”, Vice by Joseph Cox,
   26 November 23, 2019 at https://www.vice.com/en_us/article/gyzawx/authorities-arrest-suspected-jack-
      dorsey-hacker.
   27 105 https://www.statista.com/statistics/220683/number-of-atundt-employees-since-2007/
      106
          New Report Pulls Back the Curtain on AT&T's Vast Network of Offshored Call Centers at
   28 https://cwa-union.org/news/releases/new-report-pulls-back-curtain-on-atts-vast-network-of-
      offshored-call-centers
                                                 - 39 -
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    1         150. More significantly, for many years AT&T has been fully aware of well-
    2 established technology solutions, which it could have configured its systems to

    3 require, to deter and prevent unauthorized SIM swaps and resulting thefts, which it

    4 could easily have implemented well before Mr. Shapiro’s phone was SIM swapped,

    5 but failed and refused to implement:

    6                  a.    Location detection. At the exact moment of the SIM swap request,
    7 AT&T knew the hacker's location (which Shapiro is informed was in Florida), and

    8 that Mr. Shapiro’s phone was simultaneously in Manhattan, as AT&T tracks

    9 customers’ location and even sells their location data.107 AT&T knew that Mr.

   10 Shapiro and his phone could not simultaneously be in the same place, and could have

   11 easily recognized the SIM swap request as a fraud attempt, denied it, and alerted Mr.

   12 Shapiro. AT&T was actually profiting off customers’ location data at the same time

   13 as it did nothing to use the same location data to prevent the unauthorized SIM swap.

   14                  b.    Text message. AT&T could have simply sent Mr. Shapiro a text
   15 message asking him to confirm whether he requested the SIM swap. He would have

   16 replied “no” and AT&T would have then denied the hacker’s SIM swap request and

   17 could have reported the fraud attempt to Mr. Shapiro. AT&T regularly sends text

   18 messages to its customers for marketing purposes, and asks customers to reply if they

   19 want to stop receiving such texts.

   20                  c.    Email confirmation. AT&T could have simply sent Mr. Shapiro an
   21 email asking him to confirm whether he requested the SIM swap. AT&T could have

   22 asked for a confirmation directly within the email or directed him to a legitimate link

   23 to confirm the request. Mr. Shapiro would have replied “no” and AT&T would have

   24 then denied the hacker’s SIM swap request and could have reported the fraud attempt

   25 to Mr. Shapiro.

   26                  d.    Voice biometrics. Voicebiometrics (or “Voice Id”) is a well-
   27   107
         FCC Proposes Over $200 Million in Fines Against Four Largest Wireless Carriers For
      Apparently Failing to Adequately Protect Consumer Location Data February 28, 2020 at
   28 https://docs.fcc.gov/public/attachments/DOC-362754A1.pdf
                                                - 40 -
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    1 established and cost-effective technology that has been implemented by leading

    2 financial institutions (e.g., Chase, Wells Fargo and Schwab) to prevent fraud by

    3 verifying customers’ identities by comparing a caller’s voice to a customer (or

    4 fraudster) voiceprint stored on file.108 The technology has also been implemented by

    5 in Europe, including by the largest carrier in Europe, Deutsche Telekom.109 While

    6 AT&T developed its own voice biometrics solution called AT&T Watson, the

    7 technology was never implemented to prevent SIM swaps, and instead was sold to

    8 Interactions Corporation (“Interactions”) in 2014 in exchange for an equity stake.110

    9 Ironically, Interactions continues to promote its voice biometrics solution as “Secure

   10 and Convenient Authentication,”111 continues to publicly promote the solution to its

   11 large corporate customers who have their own call centers (e.g., banks, insurance

   12 companies), a publishing a research report entitled “4 emerging technologies that

   13 could transform your contact center,” which provides in relevant part as follows: Even

   14 as companies take steps to guard their IT environments against a growing barrage of

   15 cyberthreats, many are neglecting another vulnerable area: their contact centers.

   16                Social engineering calls to contact centers — in which
   17                fraudsters pose as customers and try to trick agents into
                     revealing confidential customer information — are on the
   18                rise, according to industry experts, particularly at financial
   19                institutions, insurance companies and other businesses that
                     store sensitive data.
   20

   21
                     Voice biometrics can help your agents know exactly with
                     whom they’re talking when they answer a customer call.
   22
        108
   23     Chase at https://www.chase.com/personal/voice-biometrics, Wells Fargo at
      https://www.wellsfargo.com/privacy-security/voice-verification, and Schwab at
   24 https://www.schwab.com/voice-id.
      109
          Deutsche Telekom turns to biometrics for authentication and fraud detection
   25 https://telecoms.com/491915/dt-turns-to-biometrics-for-authentication-and-fraud-detection/
        110
   26     AT&T and Interactions Agree to Strategic Transaction in Speech and Multi-Modal Technology
      Arena November 5, 2014.
   27 https://about.att.com/story/att_and_interactions_agree_to_strategic_transaction_in_speech_and_mult
      i_modal_technology_arena.html
      111
   28     https://www.interactions.com/products/voice-biometrics/

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                     This technology can recognize voice characteristics
    1
                     passively and verify callers in real time, whether they need
    2                to speak to one of your representatives or are using your
    3
                     interactive voice response system.

    4                “By comparing your callers’ voiceprints against a database
    5
                     of known fraudster voiceprints, voice biometrics programs
                     can help you identify and track potential thieves before they
    6                steal your data.”112
    7
                     e.     Data sharing. Mobile phone carriers in other countries have
    8
        implemented a “data sharing” solution to prevent theft once an unauthorized SIM
    9
        swap has occurred. In essence, the carriers allow financial institutions real-time
   10
        access to their SIM swap data so that the institution can block a requested currency
   11
        transfer if there has been a SIM swap within a specified time frame (e.g., within 48
   12
        hours of the transfer request), since very recent SIM swap combined with a
   13
        withdrawal request is a strong indicator of fraud. The data sharing solution is widely
   14
        known and broadly used by major carriers outside of the US. Wired magazine
   15
        published an article entitled “The SIM Swap Fix That the US isn’t Using,” which
   16
        states in relevant part that “While foreign phone carriers are sharing data to stop SIM
   17
        swap fraud, US carriers are dragging feet.”113 Wired describes that even carriers in
   18
        developing countries such as Mozambique implemented the solution within a few
   19
        months of understanding the extent of the problem, and that the Head of IT, Cyber
   20
        Security & Core Data Networks at Vodacom reported that “[the solution] reduced
   21
        their SIM swap fraud to nearly zero overnight".114 Third party aggregators such as
   22
        Prove.com (formerly Payfone, Inc.) and Telesign Corporation, who license SIM swap
   23

   24   112
          “4 Emerging Technologies That Could Transform Your Contact Center” Mike Rajich, AT&T
   25 Director  of Contact Center and Enterprise Routing Product Management, AT&T
      https://www.business.att.com/learn/research-reports/4-emerging-technologies-that-could-transform-
   26 your-contact-center.html
      113
          The SIM Swap Fix That the US Isn’t Using, Wired, Andy Greenberg, April 26, 2019
      https://www.wired.com/story/sim-swap-fix-carriers-banks/.
   27 114
          Id.
   28
                                                 - 42 -
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    1 data from non-US carriers and sell it as a fraud prevention offering to banks. Figure 4

    2 shows how all four major carriers in the United Kingdom (“UK”), including British

    3 Telecom, Vodafone, O2 and Three, provide their SIM swap data to Prove.com, which

    4 in turn sells a fraud prevention service to banks enabling them to do real-time SIM

    5 swap checks to at the time of customers’ high-risk transactions.115

    6                   f.     Dedicated SIM swap centers. On information and belief, AT&T
    7 permits remote SIM swaps at each of its numerous call centers located throughout the

    8 world which results in failing to conduct proper hiring, training, supervision, and

    9 oversight, instead of creating a single center where a dedicated team of properly

   10 vetted, trained and supervised call center workers handle the remote SIM swap.

   11         151. Had AT&T implemented any of the foregoing low cost and easy to implement
   12 solutions, Mr. Shapiro would not have been the victim of an unauthorized SIM swap.

   13         152. Instead of implementing solutions to prevent unauthorized SIM swaps, AT&T
   14 appears to have made the conscious business decision to profit from unauthorized SIM

   15 swaps after they have occurred. On September 18, 2018, AT&T, Verizon and T

   16 Mobile publicly announced the joint business scheme they had been developing for

   17 months called “Project Verify,” now known as ZenKey, to profit from the SIM swap

   18 problem. 116

   19         153. ZenKey is marketed to consumers as an easier and more secure way to log
   20 into other online services, stating “Your carrier has a unique ability to identify and

   21 protect your mobile identity” and that ZenKey checks for suspicious activity at the

   22 carrier, denoting a real-time SIM swap check (as this is the most significant suspicious

   23 activity that can occur in a customer’s mobile account).117 AT&T/ZenKey promotes

   24 that it “has a unique ability to identify and protect your mobile identity” and checks

   25
        115
   26    https://info.prove.com/psd2-sca-uk-mobile-authentication
        116
         U.S. Mobile Giants Want to be Your Online Identity at https://krebsonsecurity.com/tag/project-
   27 verify/
        117
   28         https://myzenkey.com/how-it-works/

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    1 for suspicious activity. AT&T’s ZenKey consumer app is available to consumers

    2 currently in the Apple and Google app stores for iPhone and Android devices, as

    3 shown in Figure 6.118 At the same time, ZenKey is marketed to financial institutions as

    4 an identity and authentication scheme through its “Trust Services” offering, to prevent

    5 fraud, with the clear representation that its purpose is to combat SIM swap fraud:

    6 “SIM Swap Fraud has already cost businesses hundreds of millions of dollars and

    7 the threat is increasing. With ZenKey, fraudsters can no longer access your users’

    8 accounts based on stolen credentials and a simple SIM Swap.”119 ZenKey’s benefits

    9 page states “SIM swap fraud is on the rise and has cost businesses hundreds of

   10 millions of dollars ZenKey offers a suite of APIs and event alerts (Trust Services)

   11 for Service Providers to receive on-demand fraud signals and automatic

   12 indicators.”120 The ZenKey Trust Services proposal, as shown in Figure 7 is

   13 effectively executing the same type of real-time SIM swap database check as the data

   14 sharing method as described above. ZenKey seeks to charge fees to financial

   15 institutions in exchange for doing real-time checks against carrier databases to verify

   16 when a SIM swap (authorized or not) was last done,121 and its Portal Agreement

   17 Terms of Service provides that “Certain services accessed or available through the

   18 [ZenKey] Portal, especially services for which You [e.g. a bank] are asked to

   19 subscribe or pay money, may have their own terms and conditions, including but not

   20 limited to the Service Agreement.”122 ZenKey has failed to date in the marketplace,

   21 and has not yet been adopted by financial institutions.

   22     154. By not implementing even basic solutions to mitigate, let alone substantially
   23 reduce SIM swap fraud, AT&T maintains a larger revenue opportunity for ZenKey, as

   24 more unauthorized SIM swaps lead to more fraud at banks, which result in a greater

   25
      118
          iPhone app at https://apps.apple.com/us/app/zenkey-powered-by-at-t/id1490293601, Android app
   26 at https://play.google.com/store/apps/details?id=com.att.cso.consumer.MKapp&hl=en_US
      119
           https://myzenkey.com/trust-services/
   27
      120
          https://myzenkey.com/business-benefits/
   28 121 ZenKey website at https://myzenkey.com/trust-services/
      122
          https://portal.myzenkey.com/terms
                                                - 44 -
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    1 need for banks to pay for and check SIM swap data in real-time. While ZenKey has

    2 failed to date in the marketplace, and has not yet been adopted by financial

    3 institutions, AT&T and its Zenkey partner-competitors continue to invest in it (to date,

    4 they have invested around $200 million), promote it and develop it, rather than

    5 implement simple solutions to broadly prevent unauthorized SIM swaps.

    6 Rather than having easily and expeditiously implemented a data sharing solution in

    7 which AT&T licensed their SIM swap database to third party aggregators (such as

    8 Prove.com123 or TeleSign Corporation124) or directly to financial institutions (such as

    9 Coinbase or Gemini), to enable them to do real-time database checks at the time of a

   10 high-risk transactions (as non-US carriers do113), AT&T focused its efforts developing

   11 ZenKey in collusion with Verizon and T-Mobile in their ill-conceived (and to-date

   12 failed) attempt to more directly profit and control the authentication market

   13 opportunity.

   14       F.       Defendants Are Liable for the Acts of Their Employees,
   15                Representatives and Agents
   16     155. More than 3 years after stipulating to the Consent Decree, AT&T still failed
   17 to protect its customer from employee, representative and agent breaches of customer

   18 CPNI and other account data, virtually identical to the breaches at issue here,

   19 heightening the degree of its negligence.

   20     156. Mr. Shapiro, unlike AT&T, was not in a position to adequately protect
   21 himself from the harms arising from the SIM swap attacks. AT&T, Mr. Shapiro’s

   22 wireless provider, was responsible for safeguarding his account and its involvement

   23 was required for any change in SIM to be effective. Because SIM change requests

   24 were all routed through AT&T, and not through Mr. Shapiro directly, AT&T alone

   25 was positioned to prevent unauthorized SIM changes. It is unreasonable to expect Mr.

   26
      123
          The End of Dangerous SIM Swap Fraud is Here: Payfone Extends Real-Time SIM Swap
   27 Detection Algorithms at https://www.payfone.com/press/the-end-of-dangerous-sim-swap-fraud-is-
      here/
   28 124 How TeleSign Protects Transactions from SIM Swap Fraud at
      https://www.telesign.com/blog/how-telesign-protects-transactions-from-sim-swap-fraud
                                                - 45 -
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    1 Shapiro to be able to fully protect his account when AT&T, the responsible entity,

    2 failed to do so.

    3     157. Additionally, Mr. Shapiro took all of the steps that AT&T advised he take in
    4 order to protect his account—including purchasing a new SIM card and mobile phone

    5 and changing his account passcode—and was repeatedly told by AT&T that such

    6 steps would protect his account from further breaches and SIM swaps. Mr. Shapiro

    7 reasonably relied on these representations.

    8        i. Defendants Are Liable for the Acts of its Employees, Representatives and
    9 Agents.

   10     158. Defendants are liable for the acts of their employees and agents, including
   11 Jack and White, who facilitated the unauthorized access to, and resulting theft from,

   12 Mr. Shapiro.

   13     159. Defendants failed to put in place adequate systems and procedures to prevent
   14 the unauthorized employee, representatives and agents access to and sale of Mr.

   15 Shapiro’s account and related data. AT&T failed to properly hire and supervise its

   16 employees and agents, allowing them to access Mr. Shapiro’s sensitive and

   17 confidential account data, and sell access to his account and that data to third parties.

   18     160. In the context of AT&T’s enterprise as a telecommunications carrier, an
   19 employee, representatives and agents accessing a customer’s account information and

   20 effectuating a SIM swap—even without authorization—is not so unusual or startling

   21 that it would not be unfair to include the loss resulting from such unauthorized access

   22 among other costs of AT&T’s business – particularly in light of AT&T’s awareness of

   23 the risk of SIM swaps to its customers.

   24     161. Further, imposing liability on Defendants may prevent recurrence of SIM
   25 swap behavior because it creates a strong incentive for vigilance and proper

   26 safeguarding of customers’ data by Defendants, particularly AT&T, which is in the

   27 best position to guard substantially against this activity, as it is the custodian and

   28 guardian of this data.
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    1         162. As a customer of AT&T, Mr. Shapiro is entitled to rely upon the presumption
    2 that AT&T and the agents entrusted with the performance of AT&T’s business have

    3 faithfully and honestly discharged the duty owed to him by AT&T, and that they

    4 would not knowingly gain unauthorized access to his account in order to aid in

    5 perpetuating a theft from him.

    6         163. The reasonableness of Mr. Shapiro’s expectations that AT&T would
    7 safeguard his data is confirmed by the fact that the federal agency responsible for

    8 overseeing AT&T’s duties to its customers, the FCC, has stated that it “fully expect[s]

    9 carriers to take every reasonable precaution to protect the confidentiality of

   10 proprietary or personal customer information.”125

   11 V. AT&T’s Misrepresentations and Omissions.

   12         164. AT&T’s Privacy Policy, and the “Privacy Commitments” included therein,
   13 falsely represents and fails to disclose material information about its data security

   14 practices.

   15         165. Mr. Shapiro relied on AT&T’s Privacy Policy and related commitments when
   16 he chose to open his account with AT&T in approximately 2006.

   17         166. Privacy was important to Mr. Shapiro. Prior to opening his AT&T account,
   18 Mr. Shapiro was employed as the Director of Interactive Production for DIRECTV, a

   19 direct broadcast satellite service provider later acquired by AT&T. In that role, Mr.

   20 Shapiro was directly involved in analyzing privacy policies and consumer data

   21 protections for DIRECTV and other technology and media corporations involved in

   22 doing business with DIRECTV, including Microsoft, TiVo, and others.

   23         167. On information and belief, AT&T’s 2006 Privacy Policy was the operative
   24 policy at the time Mr. Shapiro opened his AT&T account or was substantially similar

   25 to the operative policy upon which he relied at that time. In its 2006 Privacy Policy,

   26 AT&T promised to protect Mr. Shapiro’s privacy and personal information, including

   27 by using security safeguards. AT&T further pledges that it will not sell customer data.

   28   125
              2007 CPNI Order ¶ 64.
                                                - 47 -
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    1         168. These representations created an expectation that Mr. Shapiro’s AT&T
    2 account and associated data would be safe and secure, that employees and agents

    3 would not access his account without authorization or sell access to his account, that

    4 his data would be protected from unauthorized disclosure, and that he could control

    5 how and when his data was accessed.

    6         169. AT&T’s representation that it uses encryption methods and other security
    7 measures and safeguards to protect customer data is false and misleading.

    8         170. As alleged fully above, AT&T allowed its employees and agents to access
    9 Mr. Shapiro’s account, and the CPNI and other sensitive data contained therein,

   10 without his authorization. AT&T’s statement that it would use encryption and other

   11 security measures to protect customers’ data and “protect against unauthorized access

   12 to . . . data, including personal identifying information” is therefore a material

   13 misrepresentation.

   14         171. Upon information and belief, AT&T’s security safeguards were inadequate,
   15 including its system which—upon information and belief—allowed an individual

   16 employee, representative and agent to conduct SIM swaps without adequate oversight,

   17 even when that employee, representative and agent conducted a large number of

   18 unauthorized SIM swaps in a short period of time (as demonstrated in the cases of

   19 White and Jack). This is despite AT&T’s promise to “limit access to personal

   20 identifying information to those employees and agents . . . who need access to such

   21 information to operate, develop, or improve [AT&T’s] services and products.”

   22         172. “Having one employee who can conduct these SIM swaps without any kind
   23 of oversight seems to be the real problem,” says Lieutenant John Rose, a member of

   24 the California-based Regional Enforcement Allied Computer Team (“REACT”), a

   25 multi-jurisdictional law enforcement partnership specializing in cybercrime.126 “And it

   26 seems like [the carriers] could really put a stop to it if there were more checks and

   27

   28   126
              “Busting SIM Swappers and SIM Swap Myths,” KREBSONSECURITY (Nov. 18, 2018),
        https://krebsonsecurity.com/2018/11/busting-sim-swappers-and-sim-swap-myths.
                                                          - 48 -
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    1 balances to prevent that. It’s still very, very easy to SIM swap, and something has to

    2 be done because it’s just too simple. Someone needs to light a fire under some folks to

    3 get these protections put in place.”127

    4       173. AT&T failed to put in place adequate systems and procedures to prevent the
    5 unauthorized employee access to and sale of Mr. Shapiro’s account and related data.

    6 In connection with subsequent criminal investigations into Mr. Shapiro’s SIM swaps,

    7 AT&T informed law enforcement that it had the capacity to see how many different

    8 SIM cards had been associated with the same single cell phone’s IMEI. In other

    9 words, AT&T could see when one cell phone had multiple SIM cards associated with

   10 it in a short amount of time.128

   11       174. AT&T also informed law enforcement that the hacker involved in Mr.
   12 Shapiro’s SIM swap had requested that 40 different AT&T wireless accounts be

   13 moved onto his phone (identified by its IMEI number) in the months leading up to Mr.

   14 Shapiro’s swap.129 AT&T therefore had the technology to track how many different

   15 accounts were being much on to the same telephone, as demonstrated by its ability to

   16 pull this information for law enforcement. Despite its ability to track this highly

   17 suspicious behavior, AT&T failed to use this technology to protect Mr. Shapiro’s

   18 account. If AT&T had proper security safeguards in place, it would have recognized

   19 this behavior, flagged it as suspicious, and prevented any further SIM swaps onto that

   20 phone – thereby protecting Mr. Shapiro.

   21       175. AT&T provided information to law enforcement about how AT&T SIM swap
   22 victims’ AT&T accounts were used while under the control of hackers. This

   23 information clearly showed that hackers were using the AT&T wireless accounts to

   24 attempt to access other personal accounts. AT&T informed law enforcement that,

   25
      127
          REACT investigative report, (attached hereto as Exhibit I), describes how certain SIM
   26 swap attacks occurred, and includes statements from victims, including Mr. Shapiro, at p. 11-12.
      128
   27     See Probation Report, California v. Joel Ortiz, No. C-189481 (CA Sup. Ct. Mar. 14, 2019) at
        p. 7 (attached hereto as Exhibit H.)
        129
            Id. at 7.
   28
                                                         - 49 -
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    1 “During the time the [hacker] controlled several of the [SIM swap] victims’ cell

    2 telephones, all telephones received multiple text messages while no text messages

    3 were sent.”130This was suspicious because it indicated that hackers were receiving

    4 password-reset or two-factor authentication text messages in an attempt to access

    5 victims’ other online accounts, rather than using the AT&T accounts for normal,

    6 legitimate purposes. As described by law enforcement:

    7
                            Based on the volume of text messages the [hacker] received,
    8                       the short time he controlled the [AT&T user] victims’
                            accounts, as well as the majority of text messages
    9                       originating from short code numbers,131 [law enforcement]
                            officers deduced [that] once [the hacker’ gained control of a
   10                       victim’s cell phone account, the [hacker] attempted to log
                            into their other accounts. Police believed the defendant was
   11                       able to do this either by receiving a 2FA [two-factor
                            authentication] text message from individual websites sent
   12                       via text message to the AT&T account controlled by the
                            [hacker], or the specific website text a code allowing the
   13                       [hacker] to reset the passwords on-line.132
   14         176. Therefore, AT&T had the capability to see this behavior and should have
   15 flagged it as suspicious. If AT&T had proper security safeguards in place, it would

   16 have recognized this behavior, flagged it as suspicious, and prevented any further SIM

   17 swaps onto that phone – thereby protecting Mr. Shapiro.

   18         177. Additionally, as alleged fully above, AT&T failed to establish a consent
   19 mechanism that verified proper authorization before Mr. Shapiro’s data was accessed

   20 and provided to third parties. AT&T’s statement that it would use encryption and

   21 other security safeguards to protect customers’ data is therefore a material

   22 misrepresentation.

   23         178. AT&T’s representation that it will “protect the privacy of [its] customers and
   24 safeguard the privacy of [their] personal identifying information” is false and

   25 misleading.

   26
        130
              Id.
        131
   27     As described by law enforcement, a “short code number” is “a phone number used strictly to
        send text message and cannot receive voice calls.” Short code numbers are used by businesses to
   28 send users password-reset links or passcodes.
        132
              Ex. H at 9.
                                                      - 50 -
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    1         179. If Mr. Shapiro had known before contracting with AT&T in approximately
    2 2006 that AT&T’s Privacy Policy was false and misleading and that it would not

    3 secure his CPNI, then Mr. Shapiro would have behaved differently— including, but

    4 not limited to, taking additional security measures and precautions such as not linking

    5 applications to his AT&T mobile phone, storing his email accounts on a separate

    6 digital device, or considering another mobile carrier.

    7         180. As alleged fully above, AT&T failed to establish a consent mechanism that
    8 verified proper authorization before Mr. Shapiro’s account and the data therein was

    9 used without his authorization or consent and disclosed to third parties. Mr. Shapiro’s

   10 privacy and personal information was not safe, as demonstrated by the repeated

   11 breaches of his AT&T account. AT&T’s statement that it would protect customers’

   12 privacy and keep their personal information safe is therefore a material

   13 misrepresentation.

   14         181. AT&T’s representation that it will not sell customers’ personal information or
   15 CPNI is false and misleading.

   16         182. As alleged fully above, AT&T employees and agents sold access to Mr.
   17 Shapiro’s AT&T account to third parties. AT&T’s statement that it would not sell

   18 customers’ personal information is therefore a material misrepresentation.

   19         183. AT&T also makes numerous false or misleading representations concerning
   20 its treatment of customers’ data that qualifies as CPNI under the FCA.

   21         184. AT&T explicitly and falsely represents in its Privacy Policy that it does not
   22 “sell, trade or share” customers’ CPNI:

   23
                       We do not sell, trade or share your CPNI – including your
   24                  calling records - with anyone outside of the AT&T family of
                       companies or with anyone not authorized to represent us to
   25                  offer our products or services, or to perform functions on our
                       behalf except as may be required by law or authorized by
   26                  you.133
   27   133
         2006 Privacy Policy. “In this policy, the AT&T family of companies means AT&T Inc. and its
   28 subsidiary and affiliated entities.” “Customer Proprietary Network Information (CPNI),” Ex. A. On
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    1
           185. As alleged fully above, AT&T provided access to Mr. Shapiro’s CPNI to
    2
        third-party hackers. This use was not required by law and was instead prohibited by
    3
        law.
    4
           186. AT&T also states that it only uses CPNI internally and its only disclosed use
    5
        of CPNI is among the AT&T companies and its agents in order to offer its products or
    6
        services.134
    7
           187. AT&T employees and agents’ sale of access to Mr. Shapiro’s account and
    8
        related data as described herein was not for internal AT&T purposes, nor was it used
    9
        to market AT&T services. AT&T’s statements regarding the sale and/or use of
   10
        customer CPNI are therefore material misrepresentations. Its failure to disclose this
   11
        sale of access to CPNI is a material omission.
   12
           188. AT&T also falsely represents that it “implement[s] technology and security
   13
        features, and strict policy guidelines to safeguard the privacy of [customers’] personal
   14
        identifying information,” and that it “will continue to enhance security procedures as
   15
        new technology becomes available.”
   16
           189. As alleged fully above, AT&T and its agents failed to safeguard Mr.
   17
        Shapiro’s CPNI. Instead, it stored customer CPNI in such a way that unauthorized
   18
        access was easily obtained by employees and agents and third parties. AT&T’s
   19
        statements regarding the technology and security features it uses to safeguard
   20
        customer CPNI are therefore material misrepresentations.
   21
           190. After each breach of his account and unauthorized SIM swap, AT&T
   22
        repeatedly, and falsely, represented to Mr. Shapiro that his account was safe from
   23
        future breaches. In reliance upon these statements, Mr. Shapiro maintained his AT&T
   24
        account. AT&T also repeatedly told Mr. Shapiro that the notations made on his
   25
        account and the passcode needed to change his SIM card would protect him from
   26

   27 information and belief, AT&T included similar protections in all subsequent privacy policies during
      the duration of Mr. Shapiro’s account.
   28 134 Id.
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    1 future breaches and SIM swaps. These misrepresentations were false and materially

    2 misleading, as demonstrated by the ongoing breaches to Mr. Shapiro’s account.

    3     191. AT&T was obligated to disclose the weaknesses and failures of its account
    4 and data security practices, as AT&T had exclusive knowledge of material facts not

    5 known or knowable to its customers, AT&T actively concealed these material facts

    6 from Mr. Shapiro, and such disclosures were necessary to materially qualify its

    7 representations that it did not sell and took measures to protect consumer data and to

    8 materially qualify its partial disclosures concerning its use of customers’ CPNI.

    9 Further, AT&T was obligated to disclose its practices under the FCA.

   10     192. A reasonable person would be deceived and misled by AT&T’s
   11 misrepresentations, which clearly indicated that AT&T would not sell, and would in

   12 fact safeguard, its customers’ personal information and CPNI.

   13     193. AT&T intentionally misled Mr. Shapiro regarding its data security practices
   14 in order to maintain his business and evade prosecution for its unlawful acts.

   15     194. AT&T’s representations that it protected customers’ personal information,
   16 when in fact it did not, were false, deceptive, and misleading and therefore a violation

   17 of the FCA.

   18     195. On August 9, 2019, Mr. Shapiro sent written notice via certified mail to
   19 AT&T of his intent to file an action for damages for the claims that follow based the

   20 allegations described herein.

   21 VI. CLAIMS FOR RELIEF

   22                                         COUNT I
   23       Violations of The Federal Communications Act, 47 U.S.C. § 201 et seq.
   24                                  (Against all Defendants)
   25     196. Plaintiff Mr. Shapiro realleges and incorporates all of the preceding
   26 paragraphs as though fully set forth in this cause of action.

   27     197. Defendants have violated 47 U.S.C. § 222(a) by failing to protect the
   28 confidentiality of Mr. Shapiro’s CPNI, as detailed herein.
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    1     198. Defendants have violated 47 U.S.C. § 222(c) by using, disclosing, and/or
    2 permitting access to Mr. Shapiro’s CPNI without the notice, consent, and/or legal

    3 authorization required under the FCA, as detailed herein. Defendants also caused

    4 and/or permitted third parties to use, disclose, and/or permit access to Mr. Shapiro’s

    5 CPNI without the notice, consent, and/or legal authorization required under the FCA,

    6 as detailed herein.

    7     199. As fully alleged above, Mr. Shapiro has suffered injury to his person,
    8 property, health, and reputation as a consequence of Defendants’ violations of the

    9 FCA. Additionally, Mr. Shapiro has suffered emotional damages, including severe

   10 anxiety and depression, mental anguish, and suffering as a result of Defendants’ acts

   11 and practices.

   12     200. Mr. Shapiro seeks the full amount of damages sustained as a consequence of
   13 Defendants’ violations of the FCA, together with reasonable attorneys’ fees, to be

   14 fixed by the Court and taxed and collected as part of the costs of the case. Mr. Shapiro

   15 also moves for a writ of injunction or other proper process, mandatory or otherwise, to

   16 restrain Defendants and their officers, agents, or representatives from further

   17 disobedience of the 2007 and 2013 CPNI Orders, or to compel their obedience to the

   18 same.

   19                                        COUNT II
   20      Violations of The California Unfair Competition Law (“UCL”) under the
   21                       Unlawful, Unfair and Fraudulent Prongs,
   22               California Business & Professional Code § 17200 et seq.
   23                                     (Against AT&T)
   24     201. Plaintiff Mr. Shapiro realleges and incorporates all of the preceding
   25 paragraphs as though fully set forth in this cause of action.

   26     202. California’s Unfair Competition Law (UCL) prohibits any “unlawful, unfair
   27 or fraudulent business act or practice.” AT&T’s business acts and practices

   28 complained of herein were unlawful, unfair, and fraudulent.
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    1     203. AT&T made material misrepresentations and omissions concerning its sale of
    2 access to and safeguarding of Mr. Shapiro’s CPNI. As alleged fully above, a

    3 reasonable person would attach importance to the privacy of his sensitive account data

    4 in determining whether to contract with a wireless cell phone provider.

    5     204. AT&T had a duty to disclose the nature of its inadequate security practices
    6 and failures in hiring, training, and supervising staff. AT&T had exclusive knowledge

    7 of material facts not known or knowable to its customers and it actively concealed

    8 these material facts from its customers.

    9     205. Further, additional disclosures were necessary to materially qualify AT&T’s
   10 representations that it did not sell consumer data and took measures to protect that

   11 data, and its partial disclosures concerning its use of customers’ CPNI. AT&T was

   12 obligated to disclose its practices, as required by the FCA. The magnitude of the harm

   13 suffered by Mr. Shapiro underscores the materiality of AT&T’s omissions.

   14     206. A reasonable person, such as Mr. Shapiro, would be deceived and misled by
   15 AT&T’s misrepresentations, which indicated that AT&T and its agents would not sell,

   16 and would in fact safeguard, its customers’ personal and proprietary information.

   17     207. AT&T intentionally misled AT&T customers regarding its data protection
   18 practices in order to attract customers and evade prosecution for its unlawful acts.

   19 Indeed, AT&T told Mr. Shapiro after each SIM swap attack that his account would be

   20 safe from future breaches, and in reliance on those assurances, Mr. Shapiro did not

   21 close his AT&T wireless account.

   22     208. AT&T’s actions detailed herein constitute an unlawful business act or
   23 practice. As alleged herein, AT&T’s conduct is a violation of the California

   24 constitutional right to privacy, the FCA, and the CLRA.

   25     209. AT&T’s actions detailed herein constitute an unfair business act or practice.
   26     210. AT&T’s conduct lacks reasonable and legitimate justification in that Mr.
   27 Shapiro has been misled as to the nature and integrity of its goods and services and

   28 has suffered injury as a result.
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    1     211. The gravity of the harm caused by AT&T’s ’practices far outweigh the utility
    2 of its conduct. AT&T’s practices were contrary to the letter and spirit of the FCA and

    3 its corresponding regulations, which require cell carriers to disclose customers’ CPNI

    4 only upon proper notice, consent, and authorization, and aims to vest carrier

    5 customers with control over their data. Due to the surreptitious nature of AT&T’s

    6 actions, Mr. Shapiro could not have reasonably avoided the harms incurred as a result.

    7     212. As the FCA establishes, it is against public policy to allow carrier employees
    8 and agents or other third parties to access, use, or disclose telecommunications

    9 customers’ sensitive account information. The effects of AT&T’s conduct are

   10 comparable to or the same as a violation of the FCA.

   11     213. AT&T’s’ actions detailed herein constitute a fraudulent business act or
   12 practice.

   13     214. As established herein, Mr. Shapiro has suffered economic harm as a result of
   14 AT&T’s unfair competition. Additionally, had AT&T disclosed the true nature and

   15 extent of its data security and protection practices—and the flaws inherent in its

   16 systems—and its unwillingness to properly protect its customers, Mr. Shapiro would

   17 not have subscribed to or paid as much money for AT&T’s ’wireless services.

   18     215. Mr. Shapiro seeks injunctive and declaratory relief for AT&T’s violations of
   19 the UCL. Mr. Shapiro seeks public injunctive relief against AT&T’s unfair and

   20 unlawful practices in order to protect the public and restore to the parties in interest

   21 money or property taken as a result of AT&T’s unfair competition. Mr. Shapiro seeks

   22 a mandatory cessation of AT&T’s practices.

   23                                        COUNT III
   24              Violations of the California Constitutional Right to Privacy
   25                                 (Against all Defendants)
   26     216. Mr. Shapiro realleges and incorporates all of the preceding paragraphs as
   27 though fully set forth in this cause of action.

   28     217. The California Constitution declares that, “All people are by nature free and
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    1 independent and have inalienable rights. Among these are enjoying and defending life

    2 and liberty, acquiring, possessing, and protecting property, and pursuing and obtaining

    3 safety, happiness, and privacy.” Cal. Const. Art. I, § 1.

    4     218. Mr. Shapiro has a reasonable expectation of privacy in his mobile device and
    5 his AT&T account information. Mr. Shapiro reasonably expected that Defendants

    6 would not access or divulge his CPNI without authorization in light of AT&T policies

    7 and legal protections afforded to CPNI. Even before being SIM swapped, Mr. Shapiro

    8 had a five digit pincode for his account that Defendants assured him would protect his

    9 account from unauthorized changes. Mr. Shapiro received verbal assurances from

   10 AT&T employees and agents that his account would be protected from additional SIM

   11 swaps after the first occurrence.

   12     219. Defendants intentionally intruded on and into Mr. Shapiro’s solitude,
   13 seclusion, or private affairs by allowing its employees and agents and third parties to

   14 improperly access Mr. Shapiro’s confidential CPNI without his permission. The

   15 sensitivity of Mr. Shapiro’s CPNI is evidenced by its use to impersonate Mr. Shapiro

   16 and intercept the contents of his private text messages and the contents of his email

   17 accounts, financial accounts, and other accounts secured by private passwords.

   18     220. Mr. Shapiro had a reasonable expectation of privacy not only in his CPNI but
   19 also in his online accounts that were accessed through use of his CPNI. Mr. Shapiro

   20 had a passcode on his iPhone that protected the content of his text messages;

   21 passwords on his email accounts that protected the content of his private email

   22 correspondence with his spouse, family members, friends, and business associates;

   23 passwords on his private notetaking application where he stored personal and

   24 professional confidential information; and passwords on his financial accounts that

   25 revealed his personal financial transactions, account balances, and business activities.

   26     221. The reasonableness of Mr. Shapiro’s expectations of privacy is supported by
   27 Defendants’ unique position to safeguard his account data, including the sensitive and

   28 confidential information contained therein, and protect Mr. Shapiro from SIM swap
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    1 attacks.

    2     222. Defendants’ intrusions into Mr. Shapiro’s privacy are highly offensive to a
    3 reasonable person. This is evidenced by federal legislation enacted by Congress and

    4 rules promulgated and enforcement actions undertaken by the FCC aimed at

    5 protecting AT&T customers’ sensitive account data from unauthorized use or access.

    6 The offensiveness of the intrusion into Mr. Shapiro’s privacy was heightened by the

    7 motives of AT&T employees and agents who sold access to Mr. Shapiro’s mobile

    8 phone number and private data to hackers for criminal purposes.

    9     223. The offensiveness of AT&T’s conduct is also heightened by its material
   10 misrepresentations to Mr. Shapiro concerning the safety and security of his account.

   11     224. Mr. Shapiro suffered great personal and financial harm by the intrusion into
   12 his private affairs, as detailed throughout this Complaint.

   13     225. Defendants’ actions and conduct complained of herein were a substantial
   14 factor in causing the harm suffered by Mr. Shapiro. But for AT&T employees and

   15 agents’ involvement in a conspiracy to rob Mr. Shapiro and Defendants’ subsequent

   16 failure to protect Mr. Shapiro from harm through adequate security and oversight

   17 systems and procedures, Mr. Shapiro would not have had his personal privacy

   18 repeatedly violated and would not have been a victim of SIM swap theft.

   19     226. As a result of Defendants’ actions, Mr. Shapiro seeks nominal and punitive
   20 damages in an amount to be determined at trial. Mr. Shapiro seeks punitive damages

   21 because Defendants’ actions were malicious, oppressive, and willful. Defendants

   22 knew or should have known about the risks faced by Mr. Shapiro, and the grave

   23 consequences of such risks. Nonetheless, Defendants utterly failed to protect Mr.

   24 Shapiro, and allowed employees and agents to profit to his detriment. Punitive

   25 damages are warranted to deter Defendants from engaging in future misconduct.

   26                                       COUNT IV
   27                                        Negligence
   28                                (Against all Defendants)
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    1     227. Mr. Shapiro realleges and incorporates all of the preceding paragraphs as
    2 though fully set forth in this cause of action.

    3     228. Defendants owed a duty to Mr. Shapiro—arising from the sensitivity of his
    4 AT&T account information and the foreseeability of harm to Mr. Shapiro should

    5 AT&T fail to safeguard and protect such data—to exercise reasonable care in

    6 safeguarding his sensitive personal information. This duty included, among other

    7 things, designing, maintaining, monitoring, and testing AT&T’s and its agents’,

    8 partners’, and independent contractors’ systems, protocols, and practices to ensure,

    9 that Mr. Shapiro’s information was adequately secured from unauthorized access.

   10     229. Federal law and regulations, as well as AT&T’s privacy policy, acknowledge
   11 AT&T’s duty to adequately protect Mr. Shapiro’s confidential account information.

   12     230. Defendants owed a duty to Mr. Shapiro to protect his sensitive account data
   13 from unauthorized use, access, or disclosure. This included a duty to ensure that his

   14 CPNI was only used, accessed, or disclosed with proper consent.

   15     231. Defendants owed a duty to Mr. Shapiro to implement a system to safeguard
   16 against and detect unauthorized access to Mr. Shapiro’s AT&T data in a timely

   17 manner.

   18     232. Defendants owed a duty to Mr. Shapiro to disclose the material fact that its
   19 data security practices were inadequate to safeguard Mr. Shapiro’s AT&T account

   20 data from unauthorized access by its own employees and agents and others.

   21     233. Defendants had a special relationship with Mr. Shapiro due to their status as
   22 his telecommunications carrier and its agents, which provided an independent duty of

   23 care. Defendants had the unique ability to protect their systems and the data accessed

   24 thereby or stored thereon from unauthorized access.

   25     234. Mr. Shapiro’s willingness to contract with AT&T, and thereby entrust AT&T
   26 with his confidential and sensitive account data, was predicated on the understanding

   27 that AT&T would undertake adequate security and consent precautions.

   28     235. Defendants breached their duties by, inter alia: (a) failing to implement and
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    1 maintain adequate security practices to safeguard Mr. Shapiro’s AT&T account and

    2 data—including his CPNI—from unauthorized access, as detailed herein; (b) failing to

    3 detect unauthorized access in a timely manner; (c) failing to disclose that AT&T’s

    4 data security practices were inadequate to safeguard Mr. Shapiro’s data; (d) failing to

    5 properly hire, train and supervise their employees and agents and prevent employees

    6 and agents from accessing and utilizing Mr. Shapiro’s AT&T account and data

    7 without authorization; and (e) failing to provide adequate and timely notice of

    8 unauthorized access.

    9     236. Defendants were also negligent in their authorization of Mr. Shapiro’s SIM
   10 card swap. Defendants Synchronoss and AT&T knew or should have known that at

   11 least forty different AT&T numbers had been moved to the same cell phone

   12 (identified by its IMEI) in the months leading up to Mr. Shapiro’s first SIM swap,

   13 knew or should have known that this was highly suspicious, but nevertheless,

   14 effectuated the transfer of Mr. Shapiro’s AT&T account to this same cell phone.

   15 AT&T had the technical capacity to track this behavior—as reflected in its willingness

   16 to do so for law enforcement—but nonetheless failed to utilize it for the benefit and

   17 protection of Mr. Shapiro.

   18     237. But for Defendants breaches of their duties, Mr. Shapiro’s data would not
   19 have been accessed by unauthorized individuals.

   20     238. Mr. Shapiro was a foreseeable victim of AT&T’s inadequate data security
   21 practices and consent mechanisms. As alleged fully above, Defendants knew or

   22 should have known that SIM swaps presented a serious threat to its customers,

   23 including Mr. Shapiro, before Mr. Shapiro’s account was breached for the first time.

   24 AT&T also knew or should have known that Mr. Shapiro was at a heightened risk

   25 after (1) he informed AT&T employees and agents that he had digital currency

   26 accounts, a risk factor AT&T has acknowledged, and (2) he had previously been the

   27 target of SIM swap attacks. Defendants also knew that improper procedures and

   28 systems to safeguard customer data could allow its employees and agents to authorize
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    1 customers’ accounts and data and sell that to third parties, as occurred in the 2015

    2 FCC enforcement action.

    3     239. Defendants knew or should have known that unauthorized accesses would
    4 cause damage to Mr. Shapiro. AT&T admitted that unauthorized account access

    5 presents a significant threat to its customers, and became aware during its 2015 FCC

    6 enforcement action of the harms caused by unauthorized account access.

    7     240. Defendants’ negligent conduct provided a means for unauthorized individuals
    8 to access Mr. Shapiro’s AT&T account data, take over control of his wireless phone,

    9 and use such access to hack into numerous online accounts in order to rob Mr. Shapiro

   10 and steal his personal information.

   11     241. As a result of Defendants’ failure to prevent unauthorized accesses, Mr.
   12 Shapiro suffered grave injury, as detailed herein, including severe emotional distress.

   13 This emotional distress arose out of Defendants’ breach of their legal duties. The

   14 damages Mr. Shapiro suffered were a proximate, reasonably foreseeable result of such

   15 breaches of its duties. Therefore, Mr. Shapiro is entitled to damages in an amount to

   16 be proven at trial.

   17     242. The injury and harm suffered by Mr. Shapiro was the reasonably foreseeable
   18 result of Defendants’ failure to exercise reasonable care in safeguarding and

   19 protecting Mr. Shapiro’s Personal Information, including his CPI and CPNI.

   20 Defendants’ misconduct as alleged herein is malice, fraud or oppression under Civil

   21 Code § 3294(c)(1) and (2) in that it was despicable conduct carried on by Defendants

   22 with a willful and conscious disregard of the rights or safety of Mr. Shapiro and

   23 despicable conduct that has subjected Mr. Shapiro to cruel and unjust hardship in

   24 conscious disregard of his rights. As a result, Mr. Shapiro is entitled to punitive

   25 damages against Defendants under Civil Code § 3294(a). Mr. Shapiro further alleges

   26 on information and belief that Bill O’Hern, who has been in charge of security at

   27 AT&T since 2016, and David S. Huntley, who has been in charge of privacy, had

   28 advance knowledge of the inadequacies of AT&T’s security, the participation of
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    1 AT&T employees in evading or bypassing security, and they committed or ratified the

    2 acts of oppression, fraud or malice alleged herein.

    3                                         COUNT V
    4                         Negligent Supervision and Entrustment
    5                                 (Against all Defendants)
    6     243. Mr. Shapiro realleges and incorporates all of the preceding paragraphs as
    7 though fully set forth in this cause of action.

    8     244. Defendants conduct their business activities through employees and agents or
    9 other agents.

   10     245. Defendants are liable for harm resulting from its agents’ and employees and
   11 agents’ conduct because they were reckless or negligent in employing and/or

   12 entrusting employees and agents—including, but not limited to, White and Jack—in

   13 work involving the risk of harm to others, including Mr. Shapiro.

   14     246. As alleged herein, Defendants knew or had reason to believe that their
   15 employees and agents were unfit and nonetheless failed to exercise reasonable care in

   16 properly investigating. Defendants were negligent in supervising their employees and

   17 agents and in entrusting them with what they knew to be highly sensitive confidential

   18 information. Defendants knew or had reason to know that their employees and agents

   19 were likely to harm others in view of the work AT&T entrusted to them.

   20     247. As alleged by law enforcement, White conducted 29 unauthorized SIM swaps
   21 and Jack conducted 12 swaps in the same month of Mr. Shapiro’s first two SIM

   22 swaps. Nonetheless, on information and belief, AT&T failed to take appropriate action

   23 to prevent additional harm to its customers, including Mr. Shapiro. Additionally,

   24 AT&T was aware that Jack and White had the ability to access its customers’

   25 accounts, including Mr. Shapiro’s account, and conduct SIM swaps, even without

   26 proper customer authorization. Nonetheless, AT&T failed to put any additional

   27 protections on customer accounts to prevent such swaps.

   28     248. Upon information and belief, Defendants failed to exercise due care in
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    1 selecting their employees and agents, and thereby negligently or reckless employed

    2 them to do acts—including accessing customer accounts and effectuating SIM

    3 swaps—which necessarily brought them in contact with others, including Mr. Shapiro,

    4 while in the performance of those duties.

    5    249. Defendants’ acts, as alleged herein, were negligent in that they permitted
    6 unauthorized account access and SIM swapping. These particular risks and hazards

    7 that Mr. Shapiro was exposed to are tied to Defendants’ negligence and recklessness

    8 in employing, and continuing to employee through the time of Mr. Shapiro’s injuries

    9 the representatives and agents who participated in the unauthorized SIM swaps.

   10    250. Defendants also failed to properly supervise their employees and agents, and
   11 instead continued to negligently entrust them with sensitive customer data. For

   12 example, had Defendants fired Jack and White when they first began to exhibit

   13 suspicious SIM swap activity—including but not limited to an irregularly high number

   14 of SIM swaps in a short period of time—Mr. Shapiro would not have been injured.

   15    251. In addition, had AT&T built a system to effectively authenticate and verify
   16 consumer consent before allowing employees and agents to access their CPNI—as

   17 required by the FCA—Mr. Shapiro would not have been injured.

   18    252. Had Defendants prevented individual employees and agents from unilaterally
   19 changing customer’s SIM swaps without proper oversight, Mr. Shapiro would not

   20 have been injured.

   21    253. In sum, Defendants gave their employees and agents the tools and
   22 opportunities they needed to gain unauthorized access to Mr. Shapiro’s account and

   23 failed to prevent them from doing so, thereby allowing them to use AT&T’s systems

   24 to perpetuate privacy breaches and thefts against Mr. Shapiro.

   25    254. The actions of the representatives and agents who initiated the unauthorized
   26 SIM swaps on behalf of Defendants have a causal nexus to their employment. Mr.

   27 Shapiro’s injuries arose out of his contract with AT&T as his carrier, and Defendants’

   28 resulting access to his CPNI and account data. The risk of injury to Mr. Shapiro was
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    1 inherent in Defendants’ working environment.

    2     255. Mr. Shapiro’s injury was also foreseeable. As alleged fully above, Defendants
    3 were aware of the risks that SIM swaps presented to their customers. Defendants were

    4 also aware that their customers’ accounts were vulnerable to unauthorized access to

    5 and sale by their own employees and agents, as demonstrated in the 2015 FCC

    6 enforcement action. Defendants were aware that Mr. Shapiro was at a heightened risk

    7 due to his possession of cryptocurrency and the previous unauthorized SIM swaps

    8 conducted in his AT&T account. Nonetheless, Defendants failed to take appropriate

    9 steps to protect Mr. Shapiro, in violation of its duty.

   10     256. The injury and harm suffered by Mr. Shapiro was the reasonably foreseeable
   11 result of Defendants’ failure to exercise reasonable care in safeguarding and

   12 protecting Mr. Shapiro’s Personal Information, including his CPI and CPNI. AT&T’s

   13 misconduct as alleged herein is malice, fraud or oppression under Civil Code §

   14 3294(c)(1) and (2) in that it was despicable conduct carried on by AT&T with a

   15 willful and conscious disregard of the rights or safety of Mr. Shapiro and despicable

   16 conduct that has subjected Mr. Shapiro to cruel and unjust hardship in conscious

   17 disregard of his rights. As a result, Mr. Shapiro is entitled to punitive damages against

   18 AT&T under Civil Code § 3294(a). Mr. Shapiro further alleges on information and

   19 belief that Bill O’Hern, who has been in charge of security at AT&T since 2016, and

   20 David S. Huntley, who has been in charge of privacy, had advance knowledge of the

   21 inadequacies of AT&T’s security, the participation of AT&T employees in evading or

   22 bypassing security, and they committed or ratified the acts of oppression, fraud or

   23 malice alleged herein.

   24                                        COUNT VI
   25                                       Concealment
   26                                     (Against AT&T)
   27     257. Mr. Shapiro realleges and incorporates all of the preceding paragraphs as
   28 though fully set forth in this cause of action.
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    1     258. As alleged above, AT&T, including Chief Security Officer Bill O’Hern and
    2 Chief Compliance Officer David S. Huntley, who are respectively in charge of

    3 AT&T’s security and privacy protections, knew that its data security measures were

    4 grossly inadequate, that its employees and agents could readily bypass the procedures,

    5 that its employees actively cooperated with hackers and thieves, and that it was

    6 incapable of living up to its commitments to consumers, including to Mr. Shapiro,

    7 under state and federal law, as well as under its own Privacy Policy, to protect his

    8 Personal Information, including CPI and CPNI.

    9     259. Mr. Shapiro was unaware that AT&T’s security measures did not include low
   10 cost and readily available solutions which would have prevented his SIM swap and

   11 resulting theft.

   12     260. AT&T, including Mr. O’Hern and Mr. Huntley, knew or should have known
   13 from prior incidents and contacts with law enforcement that its system was subject to

   14 SIM swap fraud, that its employees cooperated with hackers in such fraud, that such

   15 fraud was prevalent in the cryptocurrency community, and that its security measures

   16 were ineffective in preventing the fraud. Mr. O’Hern should have been well aware of

   17 this because he is in charge of security and AT&T and Mr. Huntley should have

   18 known because he is in charge of insuring that AT&T protects the privacy of its

   19 customers.

   20     261. AT&T did not disclose these things to Mr. Shapiro and willfully deceived Mr.
   21 Shapiro by concealing the true facts concerning its data security, which AT&T was

   22 legally obligated and had a duty to disclose. It did so in order to induce Mr. Shapiro to

   23 remain as its customer.

   24     262. Had AT&T disclosed the true facts about its dangerously poor data security
   25 practices and that is was motivated to profit from SIM swaps rather than correct the

   26 problem, Mr. Shapiro would have taken further measures to protect himself and would

   27 have ceased being a customer of AT&T.

   28     263. Mr. Shapiro justifiably relied on AT&T to provide accurate and complete
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    1 information about its data security in continuing to be AT&T’s customer. Rather than

    2 disclosing the inadequacies in its security, including the additional security it

    3 encouraged Mr. Shapiro to place on his account, AT&T willfully suppressed any

    4 information relating to such inadequacies.

    5     264. AT&T’s actions are “deceit” under Cal. Civ. Code § 1710 in that they are the
    6 suppression of a fact by one who is bound to disclose it, or who gives information of

    7 other facts which are likely to mislead for want of communication of that fact Because

    8 of the deceit by AT&T, it is liable under Cal. Civ. Code§ 1709 for “any damage which

    9 [Mr. Shapiro] thereby suffers.”

   10     265. Because of this deceit by AT&T, Mr. Shapiro’s Personal Information,
   11 including his CPI and CPNI, as described above, was compromised by hackers and he

   12 was deprived of at least $1.9 million at the time, and valued much higher today

   13 because of the increase in cryptocurrency values. The connection between AT&T, the

   14 SIM swap and the loss of Mr. Shapiro’s funds is alleged hereinabove. In addition, Mr.

   15 Shapiro’s Personal Information is now easily available to hackers, including through

   16 the Dark Web. Mr. Shapiro is further damaged to the extent of the amounts that he has

   17 paid AT&T for wireless services, because those services were either worth nothing or

   18 worth less than was paid for them because of lack of security. Mr. Shapiro has also

   19 suffered substantial out-of-pocket costs because of AT&T’s inadequate security.

   20     266. Because AT&T’s deceit is fraud under Civil Code § 3294(c)(3) ,and AT&T’s
   21 conduct was done with malice, fraud and oppression, Mr. Shapiro is entitled to

   22 punitive damages under Civil Code § 3294(a). Mr. Shapiro further alleges on

   23 information and belief that Bill O’Hern, who has been in charge of security at AT&T

   24 since 2016, and David S. Huntley, who has been in charge of privacy, had advance

   25 knowledge of the inadequacies of AT&T’s security, the participation of AT&T

   26 employees in evading or bypassing security, and they committed or ratified the acts of

   27 oppression, fraud or malice alleged herein.

   28
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    1                                        COUNT VII
    2                    Violation of the Computer Fraud and Abuse Act
    3                                      18 U.S.C. § 1030
    4                                 (Against all Defendants)
    5     267. Mr. Shapiro realleges and incorporates all of the preceding paragraphs as
    6 though fully set forth in this cause of action.

    7     268. Mr. Shapiro’s mobile device is capable of connecting to the Internet.
    8     269. Defendants’ employees, representatives and agents, in the scope of their
    9 employment, intentionally accessed Mr. Shapiro’s mobile device, and assisted others

   10 in accessing his mobile device, without Mr. Shapiro’s authorization, in order to assist

   11 hackers in their theft from Mr. Shapiro.

   12     270. Defendants’ employees, representatives and agents, took these actions
   13 knowing that they could or would cause damage to Mr. Shapiro’s mobile device, as

   14 well as damage to the information located on his mobile device.

   15     271. Defendants’ employees, representatives and agents, caused Mr. Shapiro’s
   16 mobile device and much of the data on it to be unusable to him.

   17     272. Because of the Defendants’ employees’ actions, Mr. Shapiro suffered damage
   18 to his mobile device and damage to information on his mobile device, including being

   19 unable to access information and data on his mobile device and being unable to access

   20 his personal accounts, including his personal (e.g. Evernote and G-mail) and financial

   21 (e.g. cryptocurrency and PayPal) accounts.

   22     273. The act of swapping Mr. Shapiro’s AT&T wireless SIM card was in the scope
   23 of the Defendants’ employees’ work.

   24     274. Further, Mr. Shapiro spent in excess of $5,000 investigating who accessed his
   25 mobile device and damaged information on it.

   26 VII. PRAYER FOR RELIEF

   27     275. WHEREFORE, Plaintiff Seth Shapiro requests that judgment be entered
   28 against Defendant and that the Court grant the following:
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    1        A. Judgment against Defendant for Plaintiff’s asserted causes of action;
    2        B. Public injunctive relief requiring cessation of Defendants’ acts and practices
    3 complained of herein pursuant to, inter alia, Cal. Bus. & Prof. Code § 17200, 47

    4 U.S.C. § 401(b), and Cal. Civ. Code § 1780;

    5        C. Pre- and post-judgment interest, as allowed by law;
    6        D. An award of monetary damages, including punitive damages, as allowed by
    7 law;

    8        E. Reasonable attorneys’ fees and costs reasonably incurred, including but not
    9 limited to attorneys’ fees and costs pursuant to 47 U.S.C. § 206; and

   10        F. Any and all other and further relief to which Plaintiff may be entitled.
   11

   12                              DEMAND FOR JURY TRIAL
   13        Plaintiff demands a trial by jury of all issues so triable.
   14

   15 Dated: April 5, 2021                     AFFELD GRIVAKES LLP
   16
                                               By: s/ Christopher Grivakes
   17                                              _____________________________
                                                   Christopher Grivakes
   18
                                               Attorney for SETH SHAPIRO
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